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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 __________     District of __________
 District of Delaware

 Case number (If known): _________________________ Chapter 15                                                                                 Check if this is an
                                                                                                                                                  amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1.   Debtor’s name
                                            GRG USA LLC
                                           _____________________________________________________________________________________________




2.   Debtor’s unique identifier            For non-individual debtors:

                                                  ✔
                                                       Federal Employer Identification Number (EIN)       9 ___
                                                                                                          ___ 8 – 0___ 5___ 2___ 4   0 ___
                                                                                                                                 ___ ___ 0 ___
                                                                                                                                            8

                                                       Other ___________________________. Describe identifier _____________________________.


                                           For individual debtors:

                                                       Social Security number:    xxx – xx– ____ ____ ____ ____

                                                       Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                       Other ___________________________. Describe identifier ______________________________.



3.   Name of foreign
     representative(s)                      Groupe Dynamite Inc.
                                           ____________________________________________________________________________________________


4.   Foreign proceeding in which
     appointment of the foreign             Proceedings pursuant to sections 9, 11, 11.51, 11.52, and 23 of the CCAA
                                           ____________________________________________________________________________________________
     representative(s) occurred            &RPSDQLHV &UHGLW$UUDQJHPHQW$FWSHQGLQJEHIRUHWKH6XSHULRU&RXUWRI4XHEHF&RPPHUFLDO'LYLVLRQ

5.   Nature of the foreign
                                           Check one:
     proceeding
                                           ✔
                                                 Foreign main proceeding
                                                 Foreign nonmain proceeding
                                                 Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign               ✔
                                                 A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                                 A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.

                                                 Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.
                                                  _______________________________________________________________________________________
                                                  _______________________________________________________________________________________


7.   Is this the only foreign                    No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the               ✔
     foreign representative(s)?
                                                 Yes




Official Form 401                                 Chapter 15 Petition for Recognition of a Foreign Proceeding                                   page 1
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Debtor          GRG   USA LLC
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:


                                        Canada
                                        ______________________________________________                   1209 Orange Street
                                                                                                         ______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         Wilmington                         DE      19801
                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region  ZIP/Postal Code


                                                                                                         United States of America
                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):



                                         _______________________________________________                 5592 Ferrier Street
                                                                                                         _______________________________________________
                                         Number     Street                                               Number     Street

                                         _______________________________________________                 _______________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _______________________________________________                 Montreal, Quebec                   H4P 1M2
                                                                                                         _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region  ZIP/Postal Code


                                         _______________________________________________                 Canada
                                                                                                         _______________________________________________
                                         Country                                                         Country




10.   Debtor’s website (URL)              https://www.groupedynamite.com
                                         ____________________________________________________________________________________________________




11.   Type of debtor                     Check one:
                                         ✔
                                               Non-individual (check one):
                                                 ✔
                                                     Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                     Partnership

                                                     Other. Specify: ________________________________________________

                                               Individual




     Official Form 401                          Chapter 15 Petition for Recognition of a Foreign Proceeding                                      page 2
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Debtor        GRG   USA LLC
              _______________________________________________________                        Case number (if known)_____________________________________
              Name




12.   Why is venue proper in this      Check one:
      district?                        9
                                            Debtor’s principal place of business or principal assets in the United States are in this district.
                                            Debtor does not have a place of business or assets in the United States, but the following
                                             action or proceeding in a federal or state court is pending against the debtor in this district:
                                             ___________________________________________________________________________.
                                       ✔
                                            If neither box is checked, venue is consistent with the interests of justice and the convenience
                                             of the parties, having regard to the relief sought by the foreign representative, because:
                                              Chapter 15 cases are pending in this district.
                                             ___________________________________________________________________________.



13.   Signature of foreign
      representative(s)                I request relief in accordance with chapter 15 of title 11, United States Code.

                                       I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                       relief sought in this petition, and I am authorized to file this petition.

                                       I have examined the information in this petition and have a reasonable belief that the
                                       information is true and correct.

                                       I declare under penalty of perjury that the foregoing is true and correct,


                                       8 /s/ Andrew Lutfy
                                            ________________________________________________          Andrew Lutfy
                                                                                                      _______________________________________________
                                           Signature of foreign representative                        Printed name


                                       Executed on         09/08/2020
                                                           __________________
                                                            MM / DD / YYYY



                                       8    ________________________________________________          _______________________________________________
                                           Signature of foreign representative                        Printed name


                                       Executed on         __________________
                                                            MM / DD / YYYY




14.   Signature of attorney
                                       8 /s/ Laura Davis Jones
                                            _________________________________________________ Date                  09/08/2020
                                                                                                                   _________________
                                            Signature of Attorney for foreign representative                       MM   / DD / YYYY


                                           Laura  Davis Jones
                                           _________________________________________________________________________________________________
                                           Printed name
                                           Pachulski  Stang Ziehl & Jones LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                           919 North Market Street, 17th Floor
                                           _________________________________________________________________________________________________
                                           Number         Street
                                           Wilmington
                                           ____________________________________________________ DE          19801
                                                                                                 __________________________________________
                                           City                                                            State         ZIP Code


                                           (302) 652-4100
                                           ____________________________________                            ljones@pszjlaw.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address




                                           2436                                                   DE
                                           ______________________________________________________ ____________
                                           Bar number                                                      State




  Official Form 401                         Chapter 15 Petition for Recognition of a Foreign Proceeding                                    page 3
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                  )
    In re:                                                        )    Chapter 15
                                                                  )
    GROUPE DYNAMITE INC., et al.,                                 )    Case No. 20-[       ]( )
                                                                  )
    Debtors in a Foreign Proceeding1                              )
                                                                  )    (Joint Administration Requested)
                                                                  )

                            CONSOLIDATED VERIFIED LIST
                 PURSUANT TO FED. R. BANKR. P. 1007(A)(4), 1008, AND 2002(Q)


             Pursuant to Rules 1007(a)(4), 1008, and 2002(q), the attached list contemplates each of the

following:

                    (a)     all persons or bodies authorized to administer foreign proceedings of the
                            Debtors;

                    (b)     all parties to litigation pending in the United States in which any Debtor is
                            a party at the time of filing of the petition; and

                    (c)     all entities against whom provisional relief is being sought under § 1519 of
                            the Bankruptcy Code.




1     The last four digits of the Debtors’ tax identification number are as follows: (a) Groupe Dynamite Inc. (4210);
      (b) GRG USA Holdings Inc. (4293); and (c) GRG USA LLC (4008). Additional case information can be obtained
      on       the      website       of      the       Debtors’      claims      and       noticing   agent       at
      https://cases.omniagentsolutions.com/groupedynamite. The location of the Debtors’ service address for purposes
      of these chapter 15 cases is 5592 Ferrier Street, Montreal, Quebec, Canada, H4P 1M2.
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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my information and belief.

 Executed on this 8th day of September, 2020
 Montreal, Quebec


                                              /s/ Christian Roy
                                              Christian Roy
                                              Vice President, Legal Affairs & Corporate Secretary
                                              Groupe Dynamite Inc.




                                                 2
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                             List of Parties Entitled to Notice
                   Pursuant to Bankruptcy Rules 1007(a)(4) and 2002(g)

All persons or bodies authorized to administer foreign proceedings of the Debtors.

Groupe Dynamite Inc.
5592 Ferrier Street, Montreal
Quebec, Canada P4H 1M2

All parties to litigation pending in the United States in which any Debtor is a party at the
time of filing of the petition.

 U.S. Customs and Border Protection
 Joy Marie Virga
 Attorney-Advisor, Valuation and Special Programs Branch
 Regulations and Rulings | Office of Trade | CBP
 90 K Street NE, 10th floor, Washington, D.C. 20229-1177
 joymarie.virga@cbp.dhs.gov
 Alan Joseph Genitempo
 Piro Zinna Cifelli et al
 360 Passaic Ave
 Nutley NJ 07110-2787
 (973) 661-0710
 agenitempo@pirozinnalaw.com
 Roderick V. Hannah, Esq. P.A.
 8751 W. Broward Blvd, Suite 303
 Plantation, FL 33324
 (954) 362-3800
 rhannah@rhannahlaw.com

 Law Office of Pelayo Duran, P.A.
 4640 N.W. 7th Street
 Miami, FL 33126-2309
 (305) 266-9780
 pduran@pelayoduran.com




                                              3
                   Case 20-12083-CSS             Doc 1        Filed 09/08/20      Page 7 of 26




All entities against whom provisional relief is being sought under § 1519 of the Bankruptcy
      2
Code.


    The list of parties against whom provisional relief is sought may be accessed free of charge on
          the Debtors’ case website: https://cases.omniagentsolutions.com/groupedynamite.




2     The information set forth therein is based on the Foreign Representative’s review of the Debtors’ books and
      records. The Foreign Representative reserves the right to modify or supplement any of the information provided,
      effective nunc pro tunc to the Petition Date.

                                                          4
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                  )
    In re:                                                        )    Chapter 15
                                                                  )
    GROUPE DYNAMITE INC., et al.,                                 )    Case No. 20-[       ]( )
                                                                  )
    Debtors in a Foreign Proceeding1                              )
                                                                  )    (Joint Administration Requested)
                                                                  )

                                   CORPORATE OWNERSHIP STATEMENT


             The following corporate ownership statement is made pursuant to Rules 1007(a)(4) and

7007.1 of the Federal Rules of Bankruptcy Procedures:

             •   The following own directly or indirectly 10% or more units of Groupe Dynamite Inc.:

                            •   10644579 Canada Inc.

                            •   3752372 Canada Inc.

                            •   Alexander Lutfy

                            •   AJL Family Trust 2017

                            •   Andrew Lutfy

                            •   Jessica Lutfy

                            •   Lutfy Family Trust

             •   Groupe Dynamite Inc. owns 100% of the equity interests of GRG USA Holdings Inc.

             •   GRG USA Holdings Inc. owns 100% of the equity interests of GRG USA LLC.




1
      The last four digits of the Debtors’ tax identification number are as follows: (a) Groupe Dynamite Inc. (4210);
      (b) GRG USA Holdings Inc. (4293); and (c) GRG USA LLC (4008). A complete list of such information may
      be     obtained     on     the   website      of     the   Debtors’     claims    and    noticing   agent    at
      https://cases.omniagentsolutions.com/groupedynamite. The location of the Debtors’ service address for purposes
      of these chapter 15 cases is 5592 Ferrier Street, Montreal, Quebec, Canada, H4P 1M2.
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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my information and belief.

                                                     Groupe Dynamite Inc.
                                                     Solely in its capacity as court-appointed
                                                     Foreign Representative and not in its personal
                                                     or corporate capacity


 Executed on this 8th day of September, 2020
 Montreal, Quebec



                                             /s/ Christian Roy
                                             Christian Roy
                                             Vice President, Legal Affairs & Corporate Secretary
                                             Groupe Dynamite Inc.




                                                 2
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                                          SUPERIOR COURT
                                          SUPERIOR COURT
                                       (COMMERCIAL DivisioN)
                                       (COMMERCIAL  DIVISION)
Canada
Canada
Province
Province of of Québec
               Québec
District of Montréal
District of  Montréal
No:  500-11-058763-208
No: 500-1   1-058763-208
Date:  September 8,
Date: September    8, 2020
                      2020

Presiding:
Presiding:      The Honourable
                The Honourable Peter
                               Peter Kalichman, J.S.C.
                                     Kalichman, J.S.C.

In the matter
In the matter of
              of the
                 the Companies’
                     Companies' Creditors
                                Creditors Arrangement
                                          Arrangement Act,
                                                      Act, RSC 1985, Cc C-36
                                                           RSC 1985,         of:
                                                                        C-36 of:
Groupe Dynamite
Groupe Dynamite Inc.
                Inc.
GRG
RG USA
    USA Holdings
         Holdings Inc.
                  Inc.
GRG
3RG USA LLC
         LLC
      Debtors
      Debtors
and
nd
Deloitte
)eloifte Restructuring
         Restructuring Inc.
                       Inc.
       Monitor

                                            INITIAL ORDER
                                            INITIAL ORDER


[1]
 1]    CONSIDERING the
       CONSIDERING       the Application      an Initial
                              Application for an                     an Amended
                                                                and an
                                                 Initial Order and      Amended andand Restated
                                                                                       Restated Initial
                                                                                                  Initial
             dated September 8,
       Order dated                8, 2020
                                     2020 (the
                                           (the "Application")
                                                “Application”) ofof Groupe   Dynamite Inc.,
                                                                    Groupe Dynamite          GRG USA
                                                                                       Inc., GRG
       Holdings
       Holdings Inc.    and GRG
                 Inc. and      GRG USA LLC   LLC (collectively,    the "Debtors")
                                                   (collectively, the                pursuant ta
                                                                         Debtors”) pursuant     to the
       Companies'
       Companies’ Creditors
                    Creditors Arrangement Act, Act, RSC
                                                     RSC 1985,       C-36 (the
                                                           1985, cc C-36   (the "CCAA"),
                                                                                 CCAA”),  the
                                                                                          the affidavit,
                                                                                              affidavit,
       and the exhibits,
       and     exhibits, including
                          including the report of the  proposed Monitor;
                                                  the proposed    Monitor;

2]
2]     CONSIDERING
       CONSIDERING the notification of the Application           secured creditors who are likely
                                              Application to the secured
       affected by certain
       affected    certain of the
                              the charges created
                                          created herein;
                                                  herein;

3]
3]     CONSIDERING the representations of the Iawyers present;
                                                      present;

4]
4]     CONSIDERING
       CONS         the provisions
            IDERING the                   CCAA;
                        provisions of the CCAA;

THE
 FNE COURT:

5]
5]     GRANTS the
              the Application.
                  Application.

6]
6]     ISSUES an an order pursuant ta               “Order”), divided under the following
                                   to the CCAA (the "Order"),                   following
       headings:
       headings:

       ••    Service
             Service
        •    Application of
             Application cf the CCAA
                                CCM
       •     Effective Time
       •     Plan of Arrangement
       •     Administrative Consolidation
                             Consolidation
       •          0f Proceedings against the Debtors and the Property
             Stay of
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        ••    Stayof
             Stay    ofProceedings
                        Prcceedingsagainst
                                       againstthe
                                                theDirectors
                                                    Directorsand
                                                              andOfficers
                                                                   Officers
        ••    Possession
             Possession ofofProperty
                                Propertyandand Operations
                                               Operations
        ••    NoExercise
             No    Exercise ofcfRights
                                 RightsororRemedies
                                            Remedies
        ••    No Interference
             No    interference with
                                 with Rights
                                       Rights
        ••    Continuation
             Continuation ofcfServices
                                 Services
        ••    interim Financing
             Interim    Financing
        ••    Non-Derogationof
             Non-Derogation       cfRights
                                     Rights
        ••    Directors’   and  Officers’ Indemnification and
             Directors' and Officers' Indemnification      and Charge
                                                                Charge
        ••    Restructuring
             Restructuring
        ••    Powers of
             Powers     cfthe
                           the Monitor
                                Monitor
        ••    Gift  Cards  and  LoyaftyPrograms
             Gift Cards and Loyalty       Programs
        ••    Priorities and
             Priorities   and General
                               General Provisions
                                         Provisions Relating
                                                    Relating to
                                                              te CCAA
                                                                 CCAA Charges
                                                                        Charges
        ••    Hearing    scheduling   and
             Hearing scheduling and detailsdetails
        ••    Come-back hearing
             Come-back       hearing
        ••    General
             General
 5ervice
 ervice
 7]     ORDERS that
       ORDERS      that any
                         any prior
                              prier delay
                                     delay for
                                            fer the
                                                 the presentation
                                                      presentation ofcf the
                                                                         the Application      hereby abridged
                                                                             Application isis hereby  abridged
       and   validated
       and validated so se that
                            that the
                                  the Application
                                      Application isis properly
                                                        properiy returnable
                                                                  returnable today
                                                                               today and            dispenses
                                                                                             hereby dispenses
                                                                                      and hereby
       with further
       with  further service
                     service thereof.
                              thereof.

 8]
j8]     DECLARES that
       DECLARES        that sufficient
                             sufficient prior
                                         prier notice
                                                notice of
                                                       of the
                                                           the presentation
                                                                presentation of
                                                                             cf this
                                                                                 this Application  has been
                                                                                      Application has  been
        given   by the  Debtors    te  interested   parties,  including
       given by the Debtors to interested parties, including the secured the secured    creditors
                                                                                       creditors  which
                                                                                                  which  are
                                                                                                        are
        likely to be affected  by  the  charges   created
       likely to be affected by the charges created herein. herein.

 pplication of
Application 0f the  CCAA
                the CCAA

[9]    DECLARES that
       DECLARES  that the
                       the Debtors
                           Debtors are
                                   are debtor
                                       debter companies
                                              cempanies to
                                                         te which
                                                            which the
                                                                   the CCAA appiies.
                                                                       CCAA applies.

Effective Time
Effective Time

10]
113]   DECLARES that
       DECLARES      that this
                           this Order
                                Order and
                                      and all
                                            ail of
                                                of its
                                                    its provisions
                                                        provisions are   effective as
                                                                    are effective          12:01 a.m.
                                                                                        of 12:01
                                                                                    as of        a.m.
       Montréai  time, province  of Québec,  on  September    8, 2020
       Montréal time, province of Québec, on September 8, 2020 (the   (the  “Effective
                                                                           "Effective  Time”).
                                                                                       Time").

Plan of
Plan of Arrangement
        Arrangement

 1]
iii     DECLARES that
       DECLARES       that the
                           the Debtors
                               Debtors shall
                                        shah have
                                              have the  authority to
                                                    the authority te file
                                                                     file with
                                                                          with this       and to
                                                                                    Court and
                                                                               this Court      te submit
                                                                                                  submit
       te their
       to their creditors
                 crediters one
                            one or
                                 et more
                                     more plans
                                           plans of
                                                 of compromise
                                                     compromise or  or arrangement     (cohlectiveiy, the
                                                                        arrangement (collectively,    the
       “Plan”)  in accordance   with the CCAA.
       "Plan") in accordance with the CCAA.
dministrative  Consolidation
 dministrative Consolidation

121
12]    ORDERS the
       ORDERS       the consolidation
                          consehidatien of
                                        cf the CCAA  proceedings of
                                               CCAA proceedings         Debters under
                                                                 ef the Debtors       one single
                                                                                undet one
       Ceurt file,
       Court file, in
                    in file
                       file number
                            number 500-11-058763-208.
                                    500-1 1-058763-208.

13]
13]     ORDERS that
       ORDERS        that all
                          ail proceedings,
                              prcceedings, filings,
                                            filings, and         matters in
                                                     and other matters           CCAA proceedings
                                                                          in the CCAA              be
                                                                                       proceedings be
       fiied jeintly  and
       filed jointiy and  together by
                                   by the  Debtors   under
                                          Debtors under    file number
                                                                number  500-1  1-058763-208.
                                                                        500-11-058763-208.
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 [14]
[14]      DECLARESthat
         DECLARES        thatthe
                              the consolidation
                                   consolidation ofofthese
                                                        theseCCAA
                                                                CCAAproceedings
                                                                       proceedings inin respect
                                                                                           respectofofthe
                                                                                                       the Debtors
                                                                                                            Debtors
          shaH  be for
         shall be    for administrative
                          administrative purposes
                                              purposes only
                                                          only and
                                                                and shall
                                                                     shah not
                                                                            flot effect
                                                                                  effect aa consolidation
                                                                                             consolidation ofof the
                                                                                                                 the
          assets and
         assets   and property
                         prcperty oror ofof the
                                             the debts
                                                  debts and
                                                         and obligations
                                                              obligations ofcf each
                                                                                each ofcf the
                                                                                           the Debtors
                                                                                                Debtors including,
                                                                                                         including,
          withoutlimitation,
         without   limitation,for
                               forthe
                                   thepurposes
                                         purposesofcfanyanyPlan
                                                             Plan or
                                                                   orPlans
                                                                      Plansthat
                                                                             thatmay
                                                                                   maybe     hereafterproposed.
                                                                                         behereafter    proposed.
Stayof
Stay 0fProceedings
        Proceedings against
                     againstthe
                             theDebtors
                                Debtorsand
                                        and the
                                             theProperty
                                                 Property
 [15]
[15]      ORDERS that,
         ORDERS         that, until
                                until and
                                       and including
                                             inciuding September
                                                          September 18,   18, 2020,
                                                                               2020, or      such later
                                                                                         or such      later date
                                                                                                             date asas the
                                                                                                                         the Court
                                                                                                                              Court
          may    order    (the
         may order (the "Stay   “Stay Period"),
                                         Period”), no  no proceeding
                                                            proceeding or   or enforcement
                                                                                enforcement process  process inin any
                                                                                                                    any court
                                                                                                                           court oror
          tribunal (each,
         tribunal    (each, aa "Proceeding"),
                                  “Proceeding”), including
                                                        including but but not
                                                                           not limited
                                                                                 limited to      seizures, right
                                                                                            te seizures,       right toto distrain,
                                                                                                                           distrain,
          executions, writs
         executions,       writs of
                                  cf seizure
                                       seizure or or execution,
                                                      execution, any  any and
                                                                           and all ail actions,      applications, arbitration
                                                                                        actions, applications,          arbitration
          proceedings        and  other    iawsuits    existing    at  the   time    cf  this
         proceedings and other Iawsuits existing at the time of this Order in which any of     Order     in  which     any   cf the
                                                                                                                                 the
          Debtors    is  a  defendant,     party   or respondent       (either  individually
         Debtors is a defendant, party or respondent (either individually or with other           or  with   other Persons
                                                                                                                     Persons (as (as
          defined below))
         defined     below)) shall
                                shail bebe commenced
                                            commenced or      or continued
                                                                  continued against
                                                                                against or           respect of
                                                                                            or inin respect     of the
                                                                                                                    the Debtors,
                                                                                                                          Debtors,
          or affecting
         or    affecting thethe Debtors'
                                 Debtors’ business
                                               business operations
                                                             operations and and activities
                                                                                    activities (the(the "Business")
                                                                                                          “Business”) or    or the
                                                                                                                                 the
          Property
         Property (as  (as defined
                              defined herein
                                         herein below),
                                                   beiow), including
                                                               including as  as provided              paragraph [23]
                                                                                  provided inin paragraph             [23] herein
                                                                                                                             herein
          except with
         except    with leave
                           leave of
                                  of this
                                       this Court.
                                            Court. Any      and all
                                                      Any and     ail Proceedings
                                                                       Proceedings currently            under way
                                                                                          currently under       way against
                                                                                                                        against oror
          in respect
         in   respect ofcfthe
                            the Debtors
                                 Debtors or or affecting
                                                affecting the
                                                            the Business
                                                                 Business or   or the
                                                                                   the Property
                                                                                         Property are are hereby
                                                                                                            hereby stayed
                                                                                                                      stayed andand
          suspended pending
         suspended        pending further
                                      further order
                                               order ofof this
                                                           this Court,
                                                                Court, the
                                                                         the whole
                                                                               whole subject
                                                                                         subject to to section
                                                                                                        section 11.1
                                                                                                                  11.1 CCAA.
                                                                                                                          CCAA.

[-116]
    6]   ORDERS that
         ORDERS    that the
                         the rights
                              rights of
                                     of Her
                                         Her Majesty
                                             Majesty in
                                                      in right
                                                          right of
                                                                of Canada
                                                                    Canada and  Her Majesty
                                                                            and Her  Majesty inin right
                                                                                                   right of
                                                                                                         cf aa
         Province are  suspended
         Province are suspended in    in accordance
                                         accordance with
                                                      with the
                                                             the terms
                                                                   terms and            cf section
                                                                             conditions of
                                                                         and conditions    section 11.09
                                                                                                       11 .09
         CCAA.
         CCAA.
 5tay of
Stay  of Proceedings
         Proceedings against
                     against Directors
                             Dïrectors and
                                       and Officers
                                           Offîcers

 17]
[17]      ORDERS that
         ORDERS        that during
                            during the the Stay
                                           Stay Period
                                                    Period and
                                                             and except
                                                                   except as
                                                                          as permitted
                                                                             permitted under        subsection 11.03(2)
                                                                                           under subsection       11.03(2)
          cf  the CCAA,      no    Prcceeding        may    be   commenced,     or
         of the CCAA, no Proceeding may be commenced, or continued against any former,continued     against   any   former,
          present   or  future   director   or
         present or future director or officer  officer of    the Debtors
                                                          cf the   Debtors nor
                                                                           nor against
                                                                                 against any               deemed
                                                                                                  person deemed to
                                                                                            any person                 te be
                                                                                                                           be
         aa director
             director or   an officer
                        or an    officer of
                                          cf any
                                              any of cf the    Debtors under
                                                         the Debtors    under subsection         11 .03(3) of
                                                                                subsection 11.03(3)         cf the
                                                                                                                the CCAA
                                                                                                                     CCAA
          (each, aa "Director",
         (each,      “Director”, and and collectively
                                          cohiectively the the "Directors")   in respect
                                                                “Dïrectors”) in   respect of cf any   daim against
                                                                                                any claim    against such
                                                                                                                        such
          Director which
         Director   which arose
                            arose prior
                                      prier to
                                             to the
                                                 the Effective
                                                      Effective Time
                                                                  Time and
                                                                        and which
                                                                             which relates
                                                                                       relates to       obligation of
                                                                                                    any obligation
                                                                                                te any                cf the
                                                                                                                          the
          Debtors    where    it  is  ahleged     that  any    cf the Directors
         Debtors where it is alleged that any of the Directors is under any        is  under    any   law
                                                                                                     Iaw   hable
                                                                                                          liable   in
                                                                                                                  in   such
                                                                                                                      such
          capacity for
         capacity   for the
                         the payment
                             payment of    cf such
                                               such obligation.
                                                       obligation.

  ossession of
            of Property
               Property and
                        and Operations
r)ossession
 18]   ORDERS that, subject
                            Operations

[18]     ORDERS that, subject to     te this
                                        this Order,
                                              Order, the   Debtors shall
                                                      the Debtors   shah remain
                                                                           remain inin possession   and control
                                                                                       possession and     control
          cf their
         of  their present
                   present and
                            and future assets,
                                           assets, rights,   undertakings and
                                                    rights, undertakings                       cf every
                                                                                   prcperties of
                                                                             and properties        every nature
                                                                                                          nature
          and  kind whatsoever,
         and kind whatsoever, and   and   wherever   situated,  including
                                                    situated, including allail proceeds
                                                                               proceeds   thereof  and
                                                                                                   and  ail
                                                                                                       all  bank
                                                                                                            bank
          acceunts    (cohlectiveiy   the    “Property”)    notwithstanding      any
         accounts (collectively the "Property") notwithstanding any enforcement process,enforcement    process,
          inciuding but
         including   but not
                          not limited
                               himited tote seizures,
                                            seizures, right
                                                        right to  distrain, executions,
                                                              to distrain,   executions, writs of cf seizure
                                                                                                     seizure oror
          execution, the
         execution,   the whole
                          whole inin accordance
                                     accordance with the terms and   and conditions
                                                                          conditions of        Order.
                                                                                       cf this Order.

 19]
[19]     ORDERS that,
         ORDERS      that, subject
                            subject to
                                     te this Order, eacheach of cf the Debtors
                                                                        Debtors are
                                                                                are authorized        compiete
                                                                                     authorized to complete
         outstanding    transactions
         outstanding transactions       and  engage      in  new
                                                        in new     transactions with  other  Debtors,
                                                                                            Debtors,    and to
                                                                                                        and  te
         continue,
         continue,   on  and  after the  date   of this   Order,  te
                                                                  to  buy and sehi
                                                                              sell goods   and  services,  and
         ailocate, collect
         allocate,  coilect and
                             and pay costs, expenses and other amounts from and to                te the other
         Debtors, or
         Debtors,  or any
                       any of
                            cf them
                               them (collectively,
                                      (cciiectively, the "Intercompany
                                                            “Intercompany Transactions")
                                                                             Transactions”) in in the ordinary
         course of
         course  cf business.
                     business. Ail ordinary course
                                                course Intercompany
                                                           intercompany Transactions among the Debtors Debters
         shah  continue   on terms
         shall continue on terms     consistent   with  existing   arrangements   or past
                                                                                     past practice,  subject te
                                                                                                             to
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          such changes
         such   changes thereto,
                         thereto, or
                                   or to
                                       to such
                                           such governing
                                                  governing principles,
                                                              principles, policies
                                                                           policies or
                                                                                     or procedures
                                                                                         procedures as
                                                                                                     as the
                                                                                                         the
          Monitormay
         Monitor  mayrequire,
                      require, or
                                orsubject
                                   subjecttoto this
                                                this Order
                                                     Order or
                                                            orfurther
                                                               further Order
                                                                       Order of
                                                                              ofthis
                                                                                 this Court.
                                                                                      Court.
 [20J
[20]     ORDERS that
         ORDERS  that the
                       the Debtors
                           Debtors shall
                                    shah                be entitled
                                                       be   entitled to
                                                                      to continue
                                                                          continue to
                                                                                    to utilize
                                                                                        utilize the   central cash
                                                                                                 the central   cash
         management  system  currently
         management system currently inin               place  as   described   in the  Application
                                                       place as described in the Application (the "Cash(the  “Cash
         Management System").
         Management  System”).
 [21]
[21]      ORDERS that
         ORDERS    that the
                         the Debtors
                              Debtors shall
                                         shall bebe entitled
                                                      entitled but
                                                                 but not
                                                                       not required
                                                                            required to        the following
                                                                                          pay the
                                                                                      te pay        following
         expenses whether   incurred prior
         expenses whether incurred    prior to
                                             te or
                                                or after
                                                    after this
                                                           this Order:
                                                                Order:
          (a)
         (a)     aIl outstanding
                ail  outstanding and
                                   and future
                                         future wages,
                                                 wages, salaries,
                                                           salaries, bonuses,
                                                                        bonuses, expenses,         benefits and
                                                                                      expenses, benefits        and
                vacation pay
                vacation   pay payable
                                payable on
                                        on or
                                            or after
                                               after the
                                                      the date
                                                          date of
                                                               cf this
                                                                   this Order,
                                                                         Order, inin each
                                                                                      each case   incurred inin the
                                                                                            case incurred        the
                 ordinary  course cf business   and   consistent  with  existing    compensation
                ordinary course of business and consistent with existing compensation policies and   policies   and
                arrangements;
                arrangements;
         (b)
        (b)      the fees
                the   fees and
                           and disbursements
                               disbursements of    cf any
                                                      any agent,
                                                           agent, advisor
                                                                   advisor or
                                                                            or counsel
                                                                               cou nsel retained   or employed
                                                                                         retained or   employed
                 by  the  Debtors or
                by the Debtors     or by
                                      by thethe Agent
                                                 Agent onon behalf
                                                             behalf of
                                                                     cf the
                                                                         the Secured    Lenders inin respect
                                                                             Secured Lenders          respect of
                                                                                                              cf
                 these proceedings,
                these   proceedings, atat their
                                           their standard
                                                 standard rates
                                                            rates and
                                                                  and charges;
                                                                        charges; and
                                                                                  and
         (c)
        (c)     with the
                with   the consent
                           consent of of the
                                          the Monitor,
                                               Monitor, and and onlyonly after
                                                                          after the
                                                                                  the Interim     Facility has
                                                                                       lnterim Facility        has been
                                                                                                                     been
                advanced to
                advanced    te the
                                the Debtors
                                    Debtors for
                                              for an
                                                   an amount
                                                        amount of  cf $10,000,000,
                                                                      $1 0,000,000, amounts         owing for
                                                                                        amounts owing          for goods
                                                                                                                   goods
                or services
                or  services actually
                              actually supplied
                                        supplied toto the
                                                       the Debtors
                                                             Debtors prior
                                                                        prior to
                                                                               to the
                                                                                   the date
                                                                                       date of   this Order
                                                                                             of this    Order by by third
                                                                                                                     third
                party  suppliers  up te  a maximum       aggregate
                party suppliers up to a maximum aggregate amount       amount of  cf $5,000,000,
                                                                                     $5,000,000, if,if, in   the
                                                                                                         in the opinion
                                                                                                                  opinion
                cf the
                of  the Debtors,
                        Debtors, the
                                  the supplier
                                      supplier isis critical
                                                    critical to
                                                              to the
                                                                  the business
                                                                      business and and ongoing     operations of
                                                                                        ongoing operations          of the
                                                                                                                        the
                Debtors.
                Debtors.
 22]
P2]     ORDERS that
        ORDERS  that the
                      the Debtors
                          Debtors shall
                                  shall remit,
                                         remit, in
                                                 in accordance
                                                    accordance with
                                                               with legal
                                                                     legal requirements,  or pay:
                                                                            requirements, or pay:

         fa)
        (a)     any statutory
                any    statutory deemed
                                   deemed trust
                                             trust amounts
                                                   amounts in in favour
                                                                  faveur of
                                                                         cf the
                                                                             the Crown
                                                                                 Crown in   in right  of Canada
                                                                                                right of  Canada or or of
                                                                                                                        of
                any     Province    thereof   or any    other  taxation   authority   which
                any Province thereof or any other taxation authority which are required to be     are  required    to  be
                deducted from
                deducted       from employees'
                                     employees’ wages,
                                                   wages, including,
                                                            including, without
                                                                        without limitation,       amounts in
                                                                                  limitation, amounts        in respect
                                                                                                                 respect
                of  fi) employment
                of (i)   employment insurance,
                                         insurance, (ii)
                                                     (ii) Canada    Pension Plan,
                                                          Canada Pension       Plan, (iii)               Pension Plan,
                                                                                             Québec Pension
                                                                                      (iii) Québec                  Plan,
                and (iv)
                and    (iv) incarne
                             income taxes;
                                      taxes; and
                                             and

         (b)
        (b)      aIl goods
                all   goods andand services,
                                     services, harmonized
                                                 harmonized salessales oror other                    sales taxes
                                                                                      applicable sales
                                                                              other applicable              taxes
                 fcollectively,  “Sales   Taxes”)   required    te  be   remiffed
                (collectively, "Sales Taxes") required to be remitted by the         by   the   Debtors
                                                                                                Debtors    and
                                                                                                          and     in
                                                                                                                 in
                 connection    with the  sale  of goods    and  services
                connection with the sale of goods and services by the       by       Debtors,    but  only
                                                                                the Debtors, but only where where
                 such Sales
                such   Sales Taxes
                                Taxes are
                                       are accrued
                                           accrued oror collected
                                                         cohlected after
                                                                     after the
                                                                           the date
                                                                                 date of  this Order,
                                                                                       cf this          or where
                                                                                                Order, or   where
                such Sales
                such   Sales Taxes
                               Taxes were
                                      were accrued
                                            accrued or or collected
                                                          cohlected prior
                                                                      prior to
                                                                            to the
                                                                               the date
                                                                                    date ofcf this
                                                                                              this Order   but not
                                                                                                   Order but   flot
                 required to
                required   to be
                              be remitted
                                  remitted until
                                           until on
                                                 on or
                                                    or alter
                                                       after the
                                                              the date
                                                                  date of
                                                                        cf this
                                                                           this Order.
                                                                                 Order.

Noo Exercise
    Exercise of
             0f Rights
                Rights or
                       or Remedies
                          Remedies

 F23]
[23]    ORDERS that during the Stay      Stay Period,
                                              Period, and                 inter alla,
                                                       and subject to, inter                        11.1 CCAA,
                                                                                       subsection 11.1
                                                                                alla, subsection          CCAA,
        ail rights  and remedies,
        all rights and   remedies, including,
                                       including, but
                                                  but not   limited to
                                                       net limited  to modifications
                                                                        modifications of cf existing  rights and
                                                                                            existing rights  and
        events deemed to occur pursuant
        events                           pursuant to any    agreement to
                                                      any agreement       te which any              Debtors is
                                                                                           of the Debtors
                                                                                      any of                 is aa
        party as
        party  as aa result
                      result of
                             cf the insolvency
                                      insolvency of the Debtors
                                                          Debtors and/or
                                                                     and/or these CCAA                       any
                                                                                              proceedings, any
                                                                                      CCAA proceedings,
        events
        events ofcf  default  or  non-performance
                             or non-performance by    by  the  Debtcrs
                                                               Debtors    or any
                                                                             any   admissions
                                                                                  admissions     cr
                                                                                                 or  evidence
                                                                                                    evidence    in
                                                                                                               in
        these CCAA
                 CCAA proceedings,
                           proceedings, of any   any individuel,
                                                        individual, natural      person, firm, corporation,
                                                                      natural person,
        partnership, limited
        partnership,    limited liability
                                  Iiability company, trust, joint
                                                                jcint venture, association, organization,
        governmental body body orcr agency, or any
                                                 any other entity (all
                                                                    (aIl of                   collectively being
                                                                         cf the foregoing, collectively    being
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          “Persons” and
         "Persons"    and each
                           each being
                                 being aa"Person")
                                          “Person”) against
                                                      againstororinin respect
                                                                       respectof
                                                                               ofthe   Debtors, ororaffecting
                                                                                  the Debtors,       affecting
          the Business, the
         the Business,   theProperty
                              Propertyororany
                                           anypart
                                               partthereof,
                                                    thereof, are
                                                              arehereby
                                                                   herebystayed
                                                                            stayedand    suspended except
                                                                                    and suspended      except
          withleave
         with  leaveof
                     0fthis
                        thisCourt.
                             Court.
 [24]
[24]       DECLARES that,
        DECLARES          that, tota the
                                      the extent
                                           extent anyany rights,
                                                            rights, obligations,
                                                                      obligations, or     prescription, time
                                                                                      or prescription,      time or or limitation
                                                                                                                         limitation
           periods,  including,    without    limitation,    to file  grievances,
        periods, including, without limitation, to file grievances, relating to       relating   to the    Debtors
                                                                                                     the Debtors or     or any
                                                                                                                             any ofof
          the Property
        the     Property or or the
                                the Business
                                       Business may  may expire
                                                             expire (other
                                                                        (other than
                                                                                 than pursuant
                                                                                        pursuant to       the terms
                                                                                                      ta the    terms of    of any
                                                                                                                                any
          contracts, agreements
        contracts,     agreements or      or arrangements
                                              arrangements of           any nature
                                                                   of any     nature whatsoever),
                                                                                        whatsoever), the   the term
                                                                                                                 term of   of such
                                                                                                                               such
          rights, obligations,
        rights,    obligations, or or prescription,
                                        prescription, time
                                                         time oror limitation
                                                                     limitation periods
                                                                                  periods shall
                                                                                             shall hereby
                                                                                                     hereby be       deemed to
                                                                                                               be deemed          to
          be  extended
        be extended by     by aa period
                                  period equal
                                            equal tota the
                                                        the Stay
                                                              Stay Period.
                                                                      Period. Without
                                                                                Without limitation
                                                                                           limitation to    the foregoing,
                                                                                                        ta the    foregoing, inin
          the event
        the    event that
                      that the
                            the Debtors,
                                  Debtors, or  or any
                                                   any ofof them,
                                                             them, become(s)
                                                                      become(s) bankrupt
                                                                                     bankrupt or        receiver as
                                                                                                 or aa receiver      as defined
                                                                                                                           defined
        inin subsection
              subsection 243(2)
                             243(2) of  of the
                                            the Bankruptcy
                                                  Bankruptcy and    and Insolvency
                                                                            Insolvency Act      (Canada) (the
                                                                                          Act (Canada)          (the "BIA")
                                                                                                                        “BIA”) iss
          appointed inin respect
        appointed         respectof   ofany
                                         any ofofthe
                                                  the Debtors,
                                                        Debtors, the the period
                                                                           period between
                                                                                   between the the date
                                                                                                     date ofofthis
                                                                                                               this Order
                                                                                                                      Order and and
          the  day  on  which    the   Stay   Period
        the day on which the Stay Period ends shall     ends    shah not not be   calculated inin respect
                                                                              be calculated        respect of  of the
                                                                                                                   the Debtors
                                                                                                                          Debtors
        inin determining
             determining thethe 3030 day
                                       day periods
                                            periods referred
                                                       referred to ta inin Sections
                                                                           Sections 81.1
                                                                                       81.1 and
                                                                                             and 81.2     of the
                                                                                                   81 .2 of   the BIA.
                                                                                                                    BIA.
 No  Interference with
  o Interference  wïth Rights
                       Rights

1251
25]      ORDERS that
        ORDERS      that during
                         during the
                                 the Stay
                                     Stay Period,
                                            Period, nono Person
                                                           Persan shall
                                                                     shah discontinue,    fail to
                                                                           discontinue, fail    ta renew
                                                                                                    renew per
                                                                                                           per the
                                                                                                                the
         same terms
        same    terms and
                       and conditions,
                            conditions, honour,
                                         honour, alter,
                                                   alter, interfere
                                                           interfere with,
                                                                      with, repudiate,
                                                                             repudiate, resiliate,    terminate or
                                                                                         resiliate, terminate    or
         cease   to pertorm   any  right,  renewal    right,   contract,  agreement,      licence
        cease to perform any right, renewal right, contact, agreement, licence or permit in           or permit   in
         favour  of or  held  by the  Debtors,    except
        favour of or held by the Debtors, except with the   with        written consent
                                                                   the written   consent of      the Debtors,
                                                                                            ot the    Debtors, asas
         applicable, and
        applicable,  and the
                          the Monitor,
                               Monitor, or
                                        or with
                                            with leave
                                                  leave of   this Court.
                                                         0f this  Court.
Continuation of
Continuation of Services
                Services

 [26]
[26]     ORDERS that
        ORDERS         that during
                               during the the Stay
                                                 Stay Period
                                                          Period andand subject
                                                                            subject to      paragraph [28]
                                                                                       ta paragraph                 hereof and
                                                                                                              [281 hereof     and
         subsection      11.01      CCAA,      ail   Persans      having
        subsection 11.01 CCAA, all Persons having verbal or written         verbal   or    written    agreements
                                                                                                     agreements         with
                                                                                                                        with   the
                                                                                                                              the
         Debtors    or    statutory      or   regulatory      mandates       for  the
        Debtors or statutory or regulatory mandates for the supply of goods or services, supply    of    goods     or   services,
         including without
        including     withaut limitation
                                    limitation all ail computer
                                                        computer software,
                                                                      software, communication
                                                                                     communication and        and other
                                                                                                                     other data
                                                                                                                             data
         services,   centrahized
        services, centralized banking  banking services,
                                                    services, payroll
                                                                payroll services,       insurance, transportation,
                                                                           services, insurance,         transportation, utility
                                                                                                                            utility
         or other
        or   other goods
                    goods or   or services
                                    services mademade available
                                                          available to     the Debtors,
                                                                       ta the    Debtors, areare hereby         restrained until
                                                                                                   hereby restrained         until
         further order
        further   order of of this
                               this Court
                                      Court from       discontinuing, failing
                                               from discontinuing,        tailing to   renew per
                                                                                   ta renew      per the      same terms
                                                                                                       the same       terms and
                                                                                                                             and
         conditions,    altering,     interfering    with,  terminating      the
        conditions, altering, interfering with, terminating the supply or, where  supply    or,  where      the
                                                                                                           the   case
                                                                                                                 case    may
                                                                                                                        may    be,
                                                                                                                              be,
         interrupting,    delaying       or  stopping      the   transit   of  such    goods
        interrupting, delaying or stopping the transit of such goods or services as may be       or   services      as   may    be
         required   by   the   Debtors,
        required by the Debtors, and                that the
                                             and that     the Debtors      shah be
                                                               Debtors shah'          entitled to
                                                                                  be entitled     ta the     continued use
                                                                                                      the continued       use of of
        their current
        their   current premises,
                            premises, telephone
                                            telephone numbers,
                                                            numbers, facsimile                                      addresses,
                                                                                                        internet addresses,
                                                                                         numbers, internet
                                                                           facsimiie numbers,
         domain names
        domain     names or    or other
                                     ather services,
                                              services, provided
                                                            provided in  in each
                                                                              each case      that the
                                                                                     case that               normal prices
                                                                                                     the normal        prices oror
         charges   for  ail  such     goods     or  services    received
        charges for all such goods or services received alter the date       after the    date  of
                                                                                                of  this
                                                                                                   this    Order
                                                                                                          Order     are
                                                                                                                   are   paid
                                                                                                                         paid   by
                                                                                                                               by
        the Debtors,
        the   Debtors, without
                           without having
                                        having to  ta provide
                                                       provide any      security deposit
                                                                  any security      deposit or  or any      other security,
                                                                                                    any other       security, in in
        accordance       with    normal     payment
        accordance with normal payment practices of       practices    of the Debtors
                                                                                 Debtors or      such
                                                                                             or such other         practices
                                                                                                          other practices as    as
         may be
        may    be agreed
                  agreed upon upon by  by the    supplier or
                                           the supplier      or service
                                                                service provider
                                                                            provider and
                                                                                       and the     Debtors, as
                                                                                             the Debtors,            applicable,
                                                                                                                 as applicable,
        with the
        with  the consent
                   consent of   of the
                                   the Monitor,
                                         Monitor, or  or as
                                                         as may
                                                             may be     ordered by
                                                                    be ordered     by this   Court.
                                                                                       this Court.
27]
27]      ORDERS that,
        ORDERS      that, subject
                           subject to
                                   ta subsection
                                      subsection 11.01
                                                   11.01 CCAA
                                                          CCAA hereof,    no Person
                                                                  hereof, no                  be prohibited
                                                                                        shah be
                                                                              Persan shall         prahibited
        from  requiring    immediate
        from requiring immediate payment payment   for  goods,
                                                       goods,   services,   use
                                                                            use   of   ieased
                                                                                      leased    or   hicensed
                                                                                                    licensed
        property  or
        property or   other  valuable   consideration  provided to
                                       consideration provided           Debtors on
                                                                 ta the Debtors    on or after the date of
                                                                                          after
        this Order,  nor shall
        this Order, nor   shah any Person
                                     Persan be
                                             be under
                                                under any obligation
                                                            obligation on or                            Order
                                                                           or after the date of this Order
        ta make
        to make further
                 further advance
                           advance ofof money
                                        money or otherwise extend any credit to           Debtors.
                                                                                  ta the Debtors.
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 [28J
[28]      ORDERS that,
         ORDERS         that, without
                                without limiting
                                          limiting the
                                                    the generality
                                                         generality of  cf the
                                                                            the foregoing
                                                                                 foregoing andand subject
                                                                                                    subject to     Section 21
                                                                                                               to Section   21
          of  the   CCAA,     if applicable,     cash  or   cash
         of the CCAA, if applicable, cash or cash equivalents piacedequivaients     placed onon deposit
                                                                                                   deposit by     any Debtor
                                                                                                             by any     Debtor
          with any
         with   any Person
                      Persan during
                                 during the
                                          the Stay
                                                Stay Period,
                                                     Period, whether
                                                                 whether inin an
                                                                               an operating
                                                                                    operating account
                                                                                                 account or     otherwise for
                                                                                                            or otherwise    for
          itself or
         itself  or for
                     for another
                         another entity,
                                     entity, shall
                                              shah not
                                                    flot be
                                                         be applied
                                                              applied by by such
                                                                             such Person
                                                                                    Person in in reduction
                                                                                                  reduction or or repayment
                                                                                                                   repayment
          of amounts
         of  amounts owingowing to ta such
                                      such Person
                                              Person oror inin satisfaction
                                                                satisfaction ofof any
                                                                                   any interest
                                                                                        interest oror charges     accruing inin
                                                                                                       charges accruing
          respect thereof;
         respect     thereof; however,
                                 however, this
                                             this provision
                                                   provision shall
                                                                 shaH not
                                                                       not prevent
                                                                             prevent any
                                                                                       any financial
                                                                                            financiai institution     from: (i)
                                                                                                         institution from:   fi)
          reimbursing itself
         reimbursing       itseif for
                                   for the
                                        the amount
                                               amaunt of of anyany cheques
                                                                     cheques drawndrawn byby an     Debtor and
                                                                                               an Debtor        and properly
                                                                                                                     properly
          honaured by
         honoured        by such
                              such institution,
                                      institution, oror (ii)
                                                          (ii) holding
                                                                holding thethe amount
                                                                                  amount of cf any      cheques or
                                                                                                 any cheques         or other
                                                                                                                         other
          instruments     deposfted      into
         instruments deposited into an Debtor'san  Debtor’s account
                                                                account until
                                                                           until those
                                                                                  those cheques
                                                                                         cheques or   or other   instruments
                                                                                                          other instruments
          have been
         have    been honoured
                         honoured by   by the
                                           the financial
                                                financial institution
                                                            institution on
                                                                         on which
                                                                              which they
                                                                                      they have
                                                                                            have been       drawn.
                                                                                                    been drawn.
 28AJ PRAYS
f28A]  PRAYS ACTof
                 ACTof thethe consent
                              consent of
                                      of each
                                         each ofof the
                                                    the Secured
                                                        Secured Lenders
                                                                  Lenders to
                                                                           ta suspend,   until the
                                                                              suspend, until    the day
                                                                                                      day of of
       the Comeback
      the   Comeback hearing
                          hearing and
                                  and without
                                      without prejudice
                                                prejudice or
                                                           or waiver
                                                              waiver of
                                                                     of such
                                                                        such right,
                                                                               right, and subject to
                                                                                      and subject      ta the
                                                                                                           the
       Interim Facility
      Interim   Facility being
                         being advanced
                                advanced to
                                          ta the
                                              the Debtors
                                                   Debtors for
                                                            for an
                                                                an amount
                                                                   amount of   $1 0,000,000, its
                                                                            of $10,000,000,     its right
                                                                                                     right to
                                                                                                            ta
       effect set-off
      effect  set-off between:
                       between:

         (a)
        (a)      the amount
                the  amaunt ofcf $13,205,000 cash in
                                 $13,205,000 cash  in the
                                                       the Secured
                                                           Secured Lenders'
                                                                   Lenders’ bank accounts (the
                                                                            bank accounts  (the
                 “Cash in the Bank  Accounts”); and
                "Cash in the Bank Accounts"); and

         (b)
        (b)      the Secured
                the  Secured Lenders'
                             Lenders total
                                      total advances
                                            advances to
                                                      ta the
                                                          the Debtors.
                                                              Debtors.
 28BJ ORDERS
[28B] ORDERS thatthat the
                      the Cash
                           Cash in in the
                                       the Bank
                                            Bank Accounts
                                                   Accounts shall
                                                            shall be
                                                                  be maintained   and kept
                                                                      maintained and   kept in
                                                                                             in aa
      segregated account
      segregated   account until
                            until the
                                  the day
                                        day of
                                            cf the
                                                the Comeback
                                                    Comeback hearing,
                                                               hearing, unless           agreed
                                                                               otherwise agreed
                                                                        untess otherwise
      between the
      between  the Agent
                   Agent and
                          and the
                               the Debtors.
                                    Debtors.

 28C] AUTHORIZES
[28C]  AUTHORIZES the      the Debtors
                                Debtors to ta pay
                                               pay tota each
                                                         each of cf the    Secured Lenders,
                                                                     the Secured                  when due,
                                                                                      Lenders, when      due, ail
                                                                                                               ail
       amounts
      amounts owingowing (including
                             (including principal,
                                          principal, interest,
                                                       interest, fees
                                                                  fees and     expenses), including
                                                                          and expenses),                  withaut
                                                                                               inciuding without
       limitation, all
      limitation,   ail reasonable
                         reasonable fees
                                       fees and
                                             and disbursements
                                                   disbursements of        caunsel and
                                                                       of counsel    and all
                                                                                           ail other  reasonably
                                                                                               other reasonably
       required advisers
      required    advisers to ta or
                                  or agents
                                     agents ofaf the  Secured Lenders
                                                 the Secured      Lenders on on aa full              basis under
                                                                                         indemnity basis
                                                                                   full indemnity          under
       the loan
      the   ban documents
                 documents and   and to
                                      ta perform
                                         perform all
                                                   ail of  their other
                                                        af their other obligations
                                                                         abilgations to
                                                                                      ta the
                                                                                          the Secured    Lenders
                                                                                               Secured Lenders
       pursuant to
      pursuant    ta the
                      the loan
                           ban documents
                                 documents andand this
                                                   this Order.
                                                         Order.

 on-Derogation of
Jon-Derogation of Rights
                  Rights

 29]
[29]     ORDERS that, notwithstanding
        ORDERS                natwithstanding the foregoing,
                                                        foregoing, any     Persan who provided
                                                                      any Person                         any kind
                                                                                              provided any    kind ofcf
         leffer of
        letter   cf credit,
                     credit, guarantee
                              guarantee or  or bond
                                                bond (the
                                                       (the "Issuing
                                                             “Issuing Party")
                                                                         Party”) at          request of
                                                                                    at the request         any of
                                                                                                       cf any   cf the
         Debtors shall
        Debtors     shah bebe required
                               required tota continue honouring
                                                         honauring anyany and
                                                                          and all
                                                                                ail such             guaranteeS and
                                                                                            letters, guarantees
                                                                                     such letters,                 and
         bonds,   issued    on  or
        bonds, issued on or before  befare  the  date cf  this Order,  provided
                                                      of this Order, provided      that  ail
                                                                                         all conditions
                                                                                             conditions   under
                                                                                                          under  such
                                                                                                                 such
         letters, guarantees and
        letters,                   and bonds
                                        bonds areare met    save and
                                                      met save    and except
                                                                        except for                resulting from this
                                                                                 for defaults resulting            this
         Order; however,
        Order;    however, the Issuing
                                    issuing Party
                                             Party shall
                                                    shah bebe entitled,          applicable, to
                                                               entitled, where applicable,                     buis of
                                                                                                    retain the bills
                                                                                                 to retain           cf
         lading or
        lading   or shipping
                     shipping oror other documents relating                 until paid.
                                                         relating thereto until    paid.

nterim Financing
nterim Financing

30] ORDERS that the Debtors
                          Debtors are authorized to      borrow, repay
                                                     ta borrow,                                    10644579
                                                                                 rebarrcw from 10644579
                                                                    repay and reborrow
    Canada   inc.  (the “Interim   Lender”)
    Canada Inc. (the "Interim Lender")        such  amounts     from  time  ta
                                                                           to  time   as  they  may
                                                                                               may consider
     necessary      desirabie, up
    necessary or desirable,         ta a maximum
                                up to    maximum principal
                                                     principal amount
                                                                 amaunt of    $1 0,000,000 outstanding at
                                                                          cf $10,000,000
                                    canditians as set forth
    any time, on the terms and conditions               farth in
                                                               in the Amended Interim        Financing Term
                                                                                    interim Financing
            Exhibit P-10
    Sheet, Exhibit    P-10 (the   ‘Interim Financing
                            (the "Interim  Financïng Term Sheet") Sheet”) and
                                                                            and inin the Interim    Financing
                                                                                           Interim Financing
    Documents
    Documents (as (as  defined  hereinafter),  ta
                                hereinafter), to  fund the  ongoing     expenditures     cf
                                                                                         of the  Debtors
                                                                                                 Debtors   and
    ta
    to pay such    other  amounts as are permitted by the terms of         cf this   Order   and
                                                                                             and  the  lnterim
                                                                                                       Interim
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       Financing Documents
       Financing Documents (as
                            (as defined
                                defined hereinafter)
                                        hereinafter) (the
                                                      (the "Interim
                                                            ‘Interim Facility").
                                                                     Facility”).
 [31] ORDERS
[31]   ORDERS that   that the
                           the Debtors
                                Debtors are
                                          are authorized
                                               authorized to
                                                           ta execute
                                                               execute and
                                                                        and deliver
                                                                              deliver such
                                                                                      such credit   agreements,
                                                                                             credit agreements,
      security     documents and
      security documents           and other
                                        other definitive
                                               definitive documents
                                                          documents (collectively
                                                                        (collectiveiy the
                                                                                       the "Interim    Financing
                                                                                            “Interim Financing
       Documents”) as
      Documents")          as may
                               may be    required by
                                     be required    by the
                                                        the Interim
                                                             Interim Lender
                                                                      Lender inin connection
                                                                                  connection with     the Interim
                                                                                                with the   interim
       Facility and
      Facility    and the
                       the Interim
                             Interim Financing
                                      Financing Term
                                                  Term Sheet,
                                                         Sheet, and
                                                                 and the
                                                                      the Debtors
                                                                          Debtors are    authorized to
                                                                                    are authorized     to perform
                                                                                                          perform
      ail of
      all of its
              its obligations
                   obligations under
                                 under the
                                        the Interim
                                             interim Financing
                                                      Financing Documents.
                                                                  Documents.
 [32] ORDERS
[32]   ORDERS thatthat the
                         the Debtors
                               Debtors shall
                                         shah pay
                                               pay to
                                                    ta the
                                                        the Interim
                                                             lnterim Lender,
                                                                       Lender, when
                                                                                 when due,        amounts owing
                                                                                              ail amounts
                                                                                        due, all               owing
       (rnciuding    principal,    interest, fees
      (including principal, interest,         fees andand expenses,
                                                             expenses, including
                                                                             including without      limitation, all
                                                                                         without limitation,        ail
       reasonabie fees
      reasonable     fees and
                           and disbursements
                                 djsbursements of  of counsel
                                                       counsel andand all
                                                                       ail other
                                                                           other reasonably    required advisers
                                                                                  reasonabiy required      advisers
       to or
      to  or agents
              agents of  cf the
                             the Interim
                                   Interim Lender
                                             Lender onon aa full
                                                               full indemnity
                                                                     indemnity basis
                                                                                  basis (the    “Interim Lender
                                                                                         (the "Interim       Lender
       Expenses”)) under
      Expenses"))       under the
                                the Interim
                                      interim Financing
                                               Financing Documents
                                                            Documents and   and shall   perform all
                                                                                  shail perform        of its
                                                                                                   ail of  its other
                                                                                                                other
       obligations to
      obligations   to the
                        the Interim
                             interim Lender
                                      Lender pursuant
                                               pursuant toto the
                                                              the Interim
                                                                   Interim Financing
                                                                            Financing Term              the Interim
                                                                                               Sheet, the
                                                                                        Term Sheet,           interim
       Financing Documents
      Financing   Documents and    and this
                                        this Order.
                                             Order.
33] DECLARES
33] DECLARES that    that all
                           ail of
                               of the
                                   the Property
                                         Property ofof the
                                                        the Debtors
                                                             Debtors isis subject
                                                                           subject to                 hypothec and
                                                                                          charge, hypothec
                                                                                    to aa charge,                 and
    security   for an   aggregate amount
    security for an aggregate         amount of 0f $12,000,000
                                                   $1 2,000,000 (the(the "Interim
                                                                          “Interîm Lender
                                                                                     Lender Charge")
                                                                                                Charge”) inin favour
                                                                                                               favour
    of the
    of  the Interim
             Interim Lender
                        Lender as     security for
                                  as security    for all
                                                      au obligations
                                                          obligations ofof the
                                                                            the Debtors
                                                                                 Debtors to         interim Lender
                                                                                               the Interim
                                                                                           ta the             Lender
    with respect
    with  respect to  ta all
                         ail amounts
                              amaunts owing owing (including
                                                    (inciuding principal,
                                                                 principal, interest
                                                                              interest and          lnterim Lender
                                                                                              the Interim
                                                                                        and the               Lender
    Expenses) under
    Expenses)      under oror in
                               in connection
                                   connection withwith the
                                                        the Interim
                                                             Interim Financing
                                                                      Financing Term
                                                                                   Term Sheet
                                                                                          Sheet and      the Interim
                                                                                                   and the    interim
    Financing     Documents.       The    interim  Lender    Charge    shah
    Financing Documents. The Interim Lender Charge shall have the priority established by
                                                                               have  the  priarity  estabiished     by
    paragraphs      [53] and
    paragraphs [53] and [54]   [54] of
                                     of this
                                        this Order..
                                              Order..

 [34] ORDERS
~34]  ORDERS that   that the
                          the claims
                               daims of ot the
                                            the Interim
                                                  Interim Lender
                                                             Lender pursuant
                                                                     pursuant to
                                                                               ta the              Financing
                                                                                          Interim Financing
                                                                                     the Interim
      Documents shall
      Documents       shaii not
                             not bebe compromised
                                       compromised or     or arranged
                                                              arranged pursuant
                                                                        pursuant to to the          or these
                                                                                              Pian or
                                                                                        the Plan        these
      proceedings and
      proceedings     and the
                            the Interim
                                 lnterim Lender,
                                         Lender, in in that  capacity, shall
                                                        that capacity, shah be   treated as
                                                                             be treated    as an  unaffected
                                                                                               an unaffected
      creditor in
      creditor  in these
                   these proceedings
                           proceedings and
                                         and in
                                              in any
                                                 any Plan.
                                                       Plan.

[35]
 35J   ORDERS that
       ORDERS that the
                    the Interim
                         Interim Lender
                                 Lender may:
                                        may:

        ta)
       (a)    notwithstanding any
              notwithstanding         other provision
                                  any other  provision of
                                                       of this Order, take
                                                          this Order,  take such
                                                                              such steps
                                                                                     steps from   time to
                                                                                            from time      time
                                                                                                       to time
              as itit may
              as      may deem
                            deem necessary
                                   necessary oror appropriate
                                                  appropriate to   register, record
                                                               to register,   record oror perfect  the Interim
                                                                                           perfect the  interim
              Lender Charge
              Lender    Charge and     the Interim
                                  and the   interim Financing
                                                    Financing Documents
                                                                Documents in    in all                where itit
                                                                                   ail jurisdictions where
              deems itit is
              deems       is appropriate; and
                             appropriate; and

       (b)
       (b)    notwithstanding the terms
              notwithstanding        terms of
                                            of the paragraph  ta follow, refuse
                                                   paragraph to          refuse to
                                                                                 ta make      advance to
                                                                                          any advance
                                                                                    make any          ta
              the Debtors
                  Debtors ifif they fail
                                    faih to meet
                                            meet the provisions
                                                      provisions of
                                                                  of the Interim
                                                                          interim Financing        Sheet
                                                                                   Financing Term Sheet
              and the
              and the Interim
                       Interim Financing    Documents.
                                Financing Documents.

     ORDERS that the Interim
36] ORDERS                 lnterim Lender
                                    Lender shall
                                             shah not
                                                   nat take any enforcement steps under             interim
                                                                                        under the Interim
     Financing Documents
    Financing    Documents or the Interim
                                       interim Lender
                                                Lender Charge                            least 5 business
                                                         Charge without providing at least
     days written
           wriffen notice
                     notice (the   “Notice Period")
                             (the "Notice     Period”) of a default   thereundet to
                                                              defauit thereunder             Debtors, the
                                                                                     ta the Debtors,
     Monitor,
    Monitor,   the  Agent and to creditors whose rights           are registered or published at the
                                                           rights are  registered       pubiished
                   registers or requesting
    appropriate registers                                                 Upan expiry of such Notice
                                                                  notice. Upon
                                  requesting a copy of such notice.                                  Notice
     Period, the Interim
    Period,       Interim Lender
                            Lender shall
                                     shah be entitled
                                                entithed to
                                                         ta take any and all                        Interim
                                                                                        under the Interim
                                                                            ahi steps under
     Financing Documents
    Financing   Documents and the Interiminterim Lender
                                                  Lender Charge andand otherwise permitted at law, haw, but
                                                                                                        but
    without having
              having to send any demands under           Section 244 of the BIA
                                                 under Section                      and upon
                                                                               BIA and              Interim
                                                                                         upon the Interim
     Lender taking such steps, the Agent and the Secured Lenders
    Lender                                                        Lenders shall
                                                                           shaH be be entitled to take any
    and all
    and  ail steps under
                    under the loan
                                ban documents and otherwise permitted
                                                                   permitted at law,                having
                                                                                  law, but without having
    ta send any demands under
    to                         under Section
                                      Section 244 of the BIA.
                                                            B1A.
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 [37] ORDERS
[37]   ORDERS that,that, subject
                           subject to
                                    to further
                                         further order
                                                  order of
                                                         of this
                                                             this court,
                                                                  court, no  no order    shall be
                                                                                 order shah    be made
                                                                                                   made varying,
                                                                                                            varying,
       rescinding, or
      rescinding,    or otherwise
                        otherwise affecting
                                    affecting paragraphs
                                                paragraphs [30][30] to
                                                                     to [36]
                                                                         [36] hereof   unless either
                                                                               hereof uniess           (a) notice
                                                                                               either (a)  notice 0fof
      aa motion
          motion for
                  for such
                      such order
                             order isis served
                                        served onon the
                                                     the interim
                                                          interim lender
                                                                   lender by by the
                                                                                 the moving    party within
                                                                                      moving party    within seven
                                                                                                              seven
       (7) days
      (7)  days after
                after that
                        that party
                             party was
                                    was served
                                           served with
                                                   with the
                                                         the order
                                                              order oror (b)
                                                                          (b) the
                                                                               the interim  Lender appiies
                                                                                    lnterim Lender   applies for
                                                                                                               for or
                                                                                                                   or
       consents   to such   order.
      consents to such order.
Directors' and
Dïrectors’ and Officers’
               Officers' Indemnifïc
                         Indemnification  and Charge
                                    atïon and Charge

 38]
[38]     ORDERS that
        ORDERS       that the
                           the Debtors
                                Debtors shah     indemnify their
                                           shall indemnify    their Directors
                                                                    Directors from
                                                                                 from ail  claims telating
                                                                                       all daims   relating to
                                                                                                             to any
                                                                                                                any
         obligations or
        obligations     or liabilities
                           liabilities they
                                        they may
                                              may incur
                                                    incur and
                                                            and which
                                                                 which have        accrued by
                                                                          have accrued       by reason
                                                                                                 reason of of or
                                                                                                               or inin
         relation to
        relation   to their
                       their respective
                              respective capacities
                                            capacities as
                                                        as directors
                                                             directors or    officers of
                                                                         or officers   of the
                                                                                           the Debtors    alter the
                                                                                               Debtors after     the
         Effective Time,
        Effective   Time, except
                             except where
                                       where such
                                              such obligations
                                                     obligations oror liabilities
                                                                      liabilities were    incurred as
                                                                                   were incurred    as aa result
                                                                                                          resuit of
                                                                                                                  of
         such Director’s
        such    Director's gross
                              gross neghigence
                                       negligence,   willful misconduc
                                                  , willful  misconductt or  or gross
                                                                                  gross or   intentional fault
                                                                                          or intentionai   fault as
                                                                                                                  as
        further detailed
        further  detailed inin Section
                               Section 111.51   CCAA.
                                          1.51 CCAA.
39]
39]     ORDERS that
        ORDERS      that the
                         the Directors
                             Directors of of the
                                              the Debtors
                                                   Debtors shaH
                                                              shall be   entitled to
                                                                     be entitled      the benefit
                                                                                   to the  benefit of of and
                                                                                                         and are
                                                                                                               are
        hereby granted
        hereby   granted aa charge,
                             charge, security
                                        security and
                                                   and hypothec
                                                         hypothec inin the
                                                                        the Property
                                                                             Property to           extent of
                                                                                             the extent
                                                                                         to the             of the
                                                                                                                the
        aggregate amount
        aggregate   amount ofof $6,950000
                                $6,950,000 (the                    Charge"), as
                                                    "Directors' Charge”),
                                               (the “Directors’                     security for
                                                                                as security        the indemnity
                                                                                              for the  indemnity
        provided in
        provided   in paragraph
                       paragraph [38]
                                    [38] hereof
                                         hereof as as itit relates
                                                           relates to   obligations and
                                                                    to obligations          liabilities that
                                                                                       and liabilities   that the
                                                                                                                the
        Directors   may   incur  in   such
        Directors may incur in such capacity capacity     alter
                                                         after  the
                                                                the   Effective
                                                                      Effective  Time,
                                                                                 Time,    having
                                                                                          having     the
                                                                                                     the   priority
                                                                                                          priority
        estabiished by
        established   by paragraphs
                         paragraphs [53]
                                       [53] and
                                            and [54]       this Order.
                                                       of this
                                                  [54] of       Order.

40]
40]     ORDERS that,
        ORDERS      that, notwithstan
                           notwithstanding     any language
                                        ding any     language in  in any
                                                                     any applicable    insurance pohicy
                                                                          applicable insurance        policy to
                                                                                                              to the
                                                                                                                  the
        contrary, (a)
        contrary,  (a) no
                       no insurer
                            insurer shah
                                     shall be
                                            be entitied
                                                entitled to
                                                          to be    subrogated to
                                                             be subrogated      to or  claim the
                                                                                   or daim       the benefit
                                                                                                     benefit ofof the
                                                                                                                  the
        Directors' Charge,
        Directors’  Charge, and and (b)
                                      (b) the
                                           the Directors     shall only
                                                Directors shah       only be   entitled to
                                                                           be entitled   to the     benefit of
                                                                                               the benefit    of the
                                                                                                                  the
        Directors' Charge
        Directors’  Charge to to the
                                  the extent        they do
                                              that they
                                      extent that         do flot
                                                              not have
                                                                    have coverage     under any
                                                                          coverage under        any directors’
                                                                                                     directors' and
                                                                                                                 and
        officers' insurance     policy,  or  to  the
        officers’ insurance policy, or to the extent   extent   that
                                                               that    such
                                                                      such   coverage
                                                                             coverage    is
                                                                                         is    insufficient
                                                                                              insufficient   to
                                                                                                             to   pay
                                                                                                                 pay
        amounts for
        amounts    for whjch
                        which the      Directors are
                                 the Directors           entitled   to  be  indemnified
                                                   are entitled to be indemnified           in
                                                                                            in    accordance
                                                                                                 accordanc   e   with
                                                                                                                with
        paragraph [38]
        paragraph    [38] of
                          of this
                             this Order.
                                   Order.

 estructuring
Restructur ing

41]
41]     DECLARES
        DECLARE        that, to
                    S that,  to facihitate   the orderly
                                  facilitate the            restructuring
                                                  orderly restructurin    of their
                                                                        g of         business and
                                                                             their business   and financial
                                                                                                   financial
        affairs (the  "Restructuring")      but
        affairs (the “Restructuring”) but subjectsubject  to
                                                          to  such
                                                              such  requirements
                                                                    requiremen  ts  as
                                                                                    as  are
                                                                                        are imposed
                                                                                            imposed   by the
                                                                                                      by  the
        CCAA,    the
        CCAA, the Debtors
                      Debtors shaH      have   the right,  subject
                                 shall have the right, subject to   to approval
                                                                       approval   of
                                                                                  of  the
                                                                                      the Monitor
                                                                                          Monitor or  further
                                                                                                     further
        order of
        order  of the
                  the Court,
                      Court, to:
                             to:

        (a)
        (a)    permanently
               permanent                     cease, downsize
                           ly or temporarily cease,                         any of their operations
                                                                     down any
                                                                shut down
                                                    downsize or shut                     operations
               or locations
               or                they deem
                             as they
                  locations as               appropriate and
                                      deem appropriate                       for the
                                                                  provision for
                                                             make provision
                                                         and make                    consequences
                                                                                 the consequen  ces
               thereof in the  Plan;
               thereof in the Plan;
        (b)
        (b)    terminate the
               terminate    the employmen
                                 employmentt of          such of
                                                    of such     of their employees          temporarily or
                                                                           employees or temporarily
               permanently
               permanently lay offoff such
                                      such of           employees as
                                              of their employees             deem
                                                                    as they deem    appropriate
                                                                                    appropriate  and, to
                                                                                                 and,  to the
                                                                                                          the
               extent any amounts in          lieu of notice,
                                         in lieu                                  severance
                                                                 termination or severance
                                                        notice, termination                   pay   or  other
               amounts inin respect thereof are  are not
                                                     flot paid
                                                          paid in
                                                               in the          course, make
                                                                  the ordinary course,         provision, on
                                                                                        make provision,    on
               such terms
               such terms    as may   be   agreed
                                may be agreed       upon
                                                    upon   between
                                                           between    the
                                                                     the  Debtors,
                                                                          Debtors, as applicable,
                                                                                      applicable,  and
                                                                                                   and  such
                                                                                                        such
               employee,         failing such
               employee, or faihing                 agreement, make provision to deal with,
                                            such agreement,                                       with, any
               consequences
               consequences thereof in            Plan, as the Debtors may
                                             the Plan,
                                          in the                              determine;

        (c)    disclaim     resihiate agreements,
               disclaim or resiliate                                           section 32 CCAA
                                      agreements, subject to the provisions of section    CCM
               which
               which  are as follows:
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 32 (1)
32    (1) Subject
           Subject toto subsections
                         subsections (2)
                                       (2) and
                                            and (3),
                                                 (3), aa debtor
                                                          debtor company
                                                                   company may   may — on — on notice
                                                                                                notice
 given   in the prescribed
given in the prescribed form  form and
                                    and manner
                                         mannerto  tothe
                                                      the other
                                                           otherparties
                                                                  parties tota the
                                                                                the agreement
                                                                                     agreementand  and
 the monitor
the   monitor— disclaim
                 — disclaim ororresiliate
                                 resiliateany
                                           anyagreement
                                               agreementto    ta which
                                                                 which the
                                                                         the company
                                                                                companyisis aaparty
                                                                                                  party
 on the
on   theday
          dayonon which
                  which proceedings
                           proceedings commence
                                          commence underunderthis
                                                               thisAct.
                                                                    Act. The
                                                                          The company
                                                                                 companymay   maynotflot
 give notice
give   notice unless
               unlessthethemonitor
                            monitorapproves
                                      approves the
                                                 the proposed
                                                      praposed disclaimer
                                                                  disclaimeror   orresiliation.
                                                                                     resiliation.
 (2) Within
(2)   Within 15 15 days
                     days after
                            after the
                                    the day
                                         day onon which
                                                   which thethe company
                                                                  company gives gives notice
                                                                                        notice under
                                                                                                 under
 subsection     (1), a  party  ta the  agreement
subsection (1), a party to the agreement may,       may, onon notice
                                                               notice toto the
                                                                            the other
                                                                                 other parties
                                                                                        parties to
                                                                                                 to the
                                                                                                     the
 agreement and
agreement      and the
                     the monitor,
                          monitor, apply
                                     applyto
                                           ta aa court
                                                  courtfor
                                                        for an
                                                             an order
                                                                 order that
                                                                         that the
                                                                               the agreement
                                                                                    agreement isis not
                                                                                                     flot
 to be
to   be disclaimed
         disclaimed or orresiliated.
                          resiliated.

 (3) IfIf the
(3)        the monitor
                 monitor does
                            does not
                                   not approve
                                         approve thethe proposed
                                                         praposed disclaimer
                                                                      disclaimer oror resiliation,
                                                                                       resiliation, the
                                                                                                     the
 company may,
company         may, on     notice to
                       on notice    ta the
                                        the other
                                              other parties
                                                     parties to
                                                              ta the
                                                                  the agreement
                                                                       agreement and      the monitor,
                                                                                    and the    monitor,
 applyto
apply     ta aa court
                 courtfor
                       for an
                            an order
                                order that
                                       that the
                                             the agreement
                                                  agreement be be disclaimed
                                                                   disclaimed or   resiliated.
                                                                               or resiliated.
 (4) In
(4)   In deciding
         deciding whether
                  whether to
                           ta make
                              make the
                                    the order,
                                        order, the
                                                the court
                                                     court isis to
                                                                 to consider,
                                                                     consider, among
                                                                                among other
                                                                                      other
 things,
things,
     fa) whether
    (a)  whether the
                  the monitor
                      monitor approved
                              approved the
                                        the proposed
                                            proposed disclaimer
                                                     disclaimer or   resiliation;
                                                                 or resiliation;
     (b) whether
    (b)  whether the
                  the disclaimer
                       disclaimer or
                                  or resiliation
                                      resiliation would
                                                  would enhance
                                                          enhance thethe prospects  of aa viable
                                                                          prospects of    viable
     compromise or
    compromise     or arrangement
                      arrangement being
                                     being made
                                             made inin respect
                                                        respect of
                                                                of the
                                                                    the company;   and
                                                                        company; and

     fc) whether
    (c)  whether the
                  the disclaimer
                       disclaimer or
                                   or resiliation
                                       resiliation would
                                                   would likely
                                                          Iikely cause significant financial
                                                                 cause significant  financial
     hardship ta a  party ta the agreement.
    hardship to a party to the agreement.
 (5) An
(5)  An agreement
        agreement isis disclaimed
                       disclaimed or
                                  or resiliated
                                      resiUated

     fa) ifif no
    (a)        no application
                  application isis made
                                    made under
                                          under subsection   (2), on
                                                subsection (2),       the day
                                                                  on the       that isis 30
                                                                          day that       30 days
                                                                                            days
     after the
    after     the day
                  day on
                       on which
                          which thethe company
                                       company gives
                                                gives notice
                                                      notice under
                                                              under subsection   (1);
                                                                     subsection (1);

     (b) ifif the
    (b)        the court dismisses the
                   court dismisses    the application
                                           application made
                                                        made under     subsection (2),
                                                                under subsection        on the
                                                                                   (2), on  the day
                                                                                                day
     that      is 30  days   after  the   day
    that is 30 days after the day on which the  on   which   the  company
                                                                  company    gives
                                                                            gives    notice
                                                                                    notice    under
                                                                                              under
     subsection (1)
    subsection       (1) or on any
                         or on  any later
                                     Iater day
                                            day fixed
                                                 fixed by
                                                       by the
                                                           the court;
                                                               court; or
                                                                      or

    (c) ifif the
   (c)       the court
                  court orders
                          orders that
                                   that the
                                         the agreement
                                                agreement is is disclaimed  or resiliated
                                                                 disclaimed or             under
                                                                                resiliated under
    subsection (3),
   subsection            on the
                   (3), on   the day
                                  day that
                                       that is
                                             is 30
                                                30 days   after the
                                                   days after   the day
                                                                     day on
                                                                         on which  the company
                                                                            which the   company
    gives notice
   gives     notice or
                    or on  any later
                        on any   Iater day
                                       day fixed
                                            fixed by
                                                   by the
                                                      the court.
                                                           court.

 (6) IfIf the
(6)       the company
               company has has granted
                                 granted aa right
                                               right to
                                                     ta use   intellectual property
                                                         use intellectual   property to       party to
                                                                                       to aa party   ta an
                                                                                                        an
 agreement,       the  disclaimer    or  resiliation  does   flot affect       party’s
agreement, the disclaimer or resiliation does not affect the party's right to use
                                                                          the           right  ta use  the
 intellectual property
intellectual     property — including
                          —       including the
                                              the party's    right to
                                                    party’s right  ta enforce
                                                                       enforce an     exclusive use
                                                                                 an exclusive      use —
                                                                                                       —




during the
during      the term of   the agreement,
                       of the   agreement, including
                                               including any
                                                           any period
                                                                periad for which the      party extends
                                                                                     the party    extends
the agreement
the    agreement as          right, as
                      as of right,   as long
                                         long asas the
                                                   the party
                                                        party continues to     perform its
                                                                            ta perform        obligations
                                                                                          its obligations
under the agreement
under           agreement in     relation to the use
                              in relation           use of                     praperty.
                                                                 intellectual property.
                                                         of the intellectual

(7) IfIf an
(7)      an agreement
             agreement isis disclaimed or resiliated,
                                          resiliated, a party
                                                         party to     agreement who suffers
                                                               ta the agreement
a  Ioss    in relation to the disclaimer
a Ioss in relation             disclaimer or resiliation
                                             resiliation is  considered to
                                                          is considered     have a provable
                                                                         ta have   provable
daim.
claim.
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             (8) A company shall,
                            shah, on request by a party to the agreement,
                                                                agreement, provide in writing the
             reasons for the proposed disclaimer or resiliation
                                                    resiliation within five days after the day on
             which
             which the party requests them.
                                      them.

             (9) This section does not
                                   flot apply in respect of

                fa) an eligible financial
                (a)             financial contract;

                fb) a collective agreement;
                (b)

                fc) a financing
                (c)   financing agreement if the company is the borrower; or

                (U) a lease of real property or of an
                (d)                                an immovable if the company is the lessor.
                                                                                      lessor.

             and

42J
42]   DECLARES that, that, if a notice of disclaimer or resiliation is given      landiord of any of the
                                                                       given to a landlord
       Debtors
      Debtors pursuant to section 32 of the CCAA and                         [411(c) of this Order, then
                                                          and subsection [411(c)
      (a)
       fa) during the notice period prior to the effective time of the disclaimer or resiliation, the
      landlord may show the affected leased premises to prospective tenants during normal
      business hours by giving      such Debtor and the Monitor 24 hours'
                             giving such                                 hours’ prior written notice and
                                                                                                     and
      (b) at the effective time of the disclaimer or resiliation,          landlord shall be entitled to
                                                         resiliation, the landlord
      take possession of any such such leased premises and re-lease any such   such leased premises to
      third parties on such                           landiord may determine without waiver of,
                         such terms as any such landlord                                           of, or
      prejudice to,
                 to, any claims                                              Debtors, provided nothing
                                                    landlord against the Debtors,
                           daims or rights of the landlord
                              such landlord of their obligation to mitigate any damages claimed in
      herein shall relieve such
      connection therewith.
      connection   therewith.

43]
43]   DECLARES that,      in order to facilitate the Restructuring,
                   that, in                                                     may, subject to the
                                                     Restructuring, the Debtors may,
                                                            Court, settle claims of customers and
      approval of the Monitor, or further order of the Court,             daims
      suppliers that are in dispute.
                             dispute.

44]   DECLARES that, that, pursuant to sub-paragraph 7(3)(c) 7(3)(c) of the Personal Information
       Protection and Electronic
      Protection                                          2000, c 5,
                                               Act, SC 2000,
                        Electronjc Documents Act,                   5, the Debtors are permitted,
                                                                                            permitted, in
      the course of these proceedings,                        personal information of identifiable
                                proceedings, to disclose personal
                             possession or control to stakeholders or prospective investors,
       individuals in their possession                                                          investors,
      financiers, buyers or strategic partners and to their advisers
      financiers,                                                               (individually,
                                                                                 (individually,    “Third
                                                                                                 a "Third
       Party”), but only to the extent desirable or required to negotiate and complete the
      Party"),
       Restructuring or the preparation and implementation of the Plan
      Restructuring                                                     Plan or a transaction for that
      purpose, provided that the Persons
      purpose,                                    whom such personal information is disclosed
                                      Persons to whom
                                                           Debtors binding them to maintain and
      enter into confidentiality agreements with the Debtors
      protect the privacy of   such information and to limit the use of such
                            cf such                                            such information to the
      extent necessary to complete the transaction or Restructuring then under negotiation.   negotiation.
      Upon                                             information for the limited purpose set out
      Upon the completion of the use of personal information
      herein, the personal information shall
      herein,                                      returned to the Debtors or destroyed. In
                                          shah be returned                                          In the
      event that a Third                  personal information
                    Third Party acquires personal  information    as  part  of the  Restructuring
                                                                                    Restructuring   or the
                      implementation of the Plan or a transaction in
      preparation or implementation                                      in furtherance    thereof,
                                                                                           thereof,  such
      Third Party may continue to use the personal information
                                                           information inin a manner which is in all    ail
      respects identical to the prior use thereof by the Debtors.
                                                          Debtors.

Powers
 owers of the Monitor
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 45]
[45]   ORDERS that Deloitte
                       Deloitte Restructuring
                                   Restructuring Inc.
                                                 Inc. is
                                                      is hereby appointed
                                                                  appointed toto monitor the
                                                                                          the business
                                                                                              business
       and financial
       and financial affairs
                     affairs of the
                                 the Debtors  as an
                                     Debtors as                           (the "Monitor")
                                                               this Court (the
                                                 an officer of this                        and that
                                                                               ‘Monitor”) and   that the
                                                                                                     the
       Monitor,
       Monitor, in
                in addition  to the prescribed
                   addition to      prescribed powers and    obligations,
                                                         and obligations,  referred
                                                                           referred to
                                                                                    to in
                                                                                       in Section
                                                                                          Section 23
                                                                                                  23   of
       the CCAA:
       the CCAA:

       (a)
       (a)   shall, as
             shah,  as soon
                       soon as    practicable, fi)
                              as practicabie,   (i) pubiish  once a week for two
                                                    publish once                two (2)   consecutive weeks
                                                                                     (2) consecutive     weeks
             or as  otherwise directed
                as otherwise    directed by the Court,
                                                   Court, in      Presse+ and
                                                          in La Presse+     and the   Globe & Mail
                                                                                 the Globe       Mail National
                                                                                                      National
             Edition
             Edition and
                      and (ii) within five
                          (ii) within five (5)
                                            (5) business          alter the
                                                            days after
                                                business days           the date
                                                                             date of this                    on
                                                                                                   (A) post on
                                                                                      this Order (A)
             the Monitor's
             the                website (the
                   Monitor’s website       (the "Website")
                                                  “Website”) a notice         containing the information
                                                                     notice containing             information
             prescribed
             prescrïbed under the the CCAA,
                                       CCAA, (B)     make this Order publicly available
                                                (B) make                           available inin the
                                                                                                  the manner
             prescribed under the CCAA,
             prescribed                CCAA, (C) (C)  send,
                                                      send,   in
                                                              in the
                                                                 the  prescribed
                                                                      prescribed   manner,
                                                                                   manner,     a  notice
                                                                                                  notice  to aIl
                                                                                                          to all
             known
             known creditors
                     creditors having
                                 having a daim
                                            daim against the Debtors
                                                                  Debtors ofcf more than
                                                                                      than  $1,000,
                                                                                            $1,000,   advising
                                                                                                      advising
             them that this Order is
             them                    is publicly available,
                                                  available, and (D)                hist showing
                                                                    (D) prepare a list   showing the names
                                                                                                        names
             and
             and addresses cf   of such
                                    such creditors
                                          creditors and          estimated amounts cf
                                                      and the estimated                   of their respective
             daims,   and make
             daims, and   rnake it publicly available in                        manner, all
                                                                   prescribed manner,
                                                               the prescribed
                                                           in the                          ail in
                                                                                               in accordance
             with Section
             with Section 23(1)(a)
                           23(1)(a) of the CCAA and                                  thereunder;
                                                      and the regulations made thereunder;

       (b)   shall monitor the Debtors'
             shah              Debtors’ receipts and
                                                 and disbursements;
                                                     disbursements;

       (c)
       (c)   shall                     to the extent required by the Debtors,
             shah assist the Debtors, to                                         dealing with
                                                                              in deahing
                                                                     Debtors, in         with their
             creditors and
                       and other interested
                                 interested Persons during   the Stay Period;
                                                      during the      Period;

       (d)
       (U)   shall
             shall assist the Debtors,
                              Debtors, to  the extent required by the
                                        to the                                  with the preparation
                                                                       Debtors, with
                                                                   the Debtors,
             of their cash
                        cash flow projections and and any other projections or reports and  and the
             development,
             development, negotiation
                             negotiation and  implementation of
                                         and implementation   cf the Plan;
                                                                      Plan;

       (e)
       (e)   shall
             shah advise and             Debtors, to
                          and assist the Debtors,                               Debtors, to review
                                                  to the extent required by the Debtors,
             the Debtors'
                   Debtors’ business and
                                       and assess     opportunities for cost  reduction,
                                                                              reduction,  revenue
             enhancement andand operating efficiencies;

       (f)   shah assist the Debtors, to the extent required by the Debtors,
             shall                                                                      with the
                                                                              Debtors, with
             Restructuring
             Restructuring and inin their negotiations with                 and other interested
                                                       with their creditors and        interested
             Persons and   with the holding and administering of any meetings held to consider
                       and with
             the Plan;
                 Plan;

       (g)   shall
             shaH report tato the Court on the state of the business and  tinancial affairs of the
                                                                      and financial
             Debtors or developments in these proceedings or any related proceedings within within
             the time limits set forth
                                 forth in                 such time as considered appropriate by
                                       in the CCAA and at such
                                                                     consohdated reports for the
             the Monitor or as the Court may order and may file consolidated
             Debtors;
             Debtors;

       (h)
       (h)                                              parties, including
             shall report to this Court and interested parties,                     himited to creditors
                                                                               flot limited
                                                                 inciuding but not
             affected by the Plan,        with respect to the Monitor's
                                   Plan, with                       Monitor’s  assessment      of, and
             recommendations with with respect to,
                                               te, the Plan;

       (i)
       fi)   may retain
                   retain and employ such such agents, advisers and other assistants as are
             reasonably necessary for the purpose of carrying out the terms of this Order,  Order,
             including,         limitation, one or more entities related
             including, without limitation,                      reiated to or affiiiated
                                                                               affiliated with the
             Monitor;
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        (j)
       (j)     may engage
              may   engage iegal
                             legal counsei
                                    counsel to
                                             to the
                                                 the extent
                                                       extent the
                                                               the Monitor
                                                                     Monitor considers
                                                                              considers necessary
                                                                                         necessary inin
               connection with
              connection  with the
                                the exercise
                                    exercise of
                                              of its
                                                  its powers
                                                      powers oror the
                                                                   the discharge
                                                                       discharge of  its obligations
                                                                                  of its obligations inin
              these proceeding
              these  proceedings   and any
                                 s and  any related
                                             related proceeding
                                                       proceeding,    under this
                                                                    , under  this Order
                                                                                  Order oror under
                                                                                             under the
                                                                                                     the
              CCAA;
              CCAA;

       (k)
       (k)    may act
              may  act as
                       as aa “foreign
                             "foreign representat
                                      representative"  of any
                                                  ive” of any of
                                                               of the
                                                                   the Debtors
                                                                       Debtors or
                                                                               or in
                                                                                  in any
                                                                                     any other
                                                                                         other similar
                                                                                                similar
              capacity in
              capacity  in any
                           any insoivency,
                                insoivency, bankruptcy
                                             bankruptcy oror reorganisat ion  proceedings
                                                             reorganisation proceeding   s  outside
                                                                                           outside   of
                                                                                                     of
              Canada   or the United  States;
              Canada or the United States;

       (I)
       (I)    may hoid
              may  hold and
                        and administer
                             administer funds
                                         funds in
                                               in connection
                                                  connection with
                                                              with arrangeme
                                                                   arrangements    made among
                                                                               nts made  among the
                                                                                               the
              Debtors, any
              Debtors, any counterpar
                            counterparties and the
                                      ties and  the Monitor,
                                                    Monitor, or
                                                             or by
                                                                by Order
                                                                   Order of
                                                                         of this        and
                                                                                 Court; and
                                                                            this Court;

       (m) may perl:orm
       (m) may  perform such
                         such other
                               other duties as are
                                     duties as are required
                                                   required by  this Order
                                                            by this  Order or
                                                                           or the CCAA or
                                                                              the CCAA or by
                                                                                          by this
                                                                                             this
           Court from
           Court from time
                      time to
                           to time.
                              time.

       Unless expressly
       Uniess   expressly authorized
                           authorized to  to do
                                              do so
                                                  so by
                                                      by this
                                                         this Court,
                                                               Court, the            shall not
                                                                            Monitor shah
                                                                       the Monitor         not otherwise
                                                                                                otherwise
       interfere  with the  business    and    financial affairs  carried
       interfere with the business and financial affairs carried on           by  the
                                                                           on by the   Debtors,
                                                                                       Debtors,  and the
                                                                                                 and   the
       Monitor  is not empowered
       Monitor is flot empowered to  to take
                                         take possession
                                                possession ofof the
                                                                the Property
                                                                    Property nor
                                                                              nor to  manage any
                                                                                   to manage   any of
                                                                                                    of the
                                                                                                       the
       business and
       business   and financiai
                       financial affairs
                                 affairs ofof the
                                              the Debtors   nor shah
                                                   Debtors nor   shall the
                                                                       the Monitor   be deemed
                                                                            Monitor be  deemed to to have
                                                                                                     have
       done so.
       done   so.

[46]
t46]   ORDERS that
       ORDERS       that the
                         the Debtors
                                Debtors and      their Directors,
                                            and their   Directors, officers,    employees and
                                                                    officers, employees       and agents,
                                                                                                    agents,
       accountants,
       accountan  ts, auditors    and  all other
                      auditors and ail other      Persons
                                                 Persons    having
                                                            having  notice
                                                                    notice   of
                                                                            of  this
                                                                                this Order
                                                                                     Order  shall
                                                                                            shah  forthwith
                                                                                                  forthwith
       provide the
       provide  the Monitor
                      Monitor with
                                 with unrestricte
                                       unrestricted   access to
                                                   d access    to ail   of the
                                                                   all of                   and Property,
                                                                                 Business and
                                                                           the Business           Property,
       including, without
       including,  without limitation,     the premises,
                             limitation, the   premises, books,       records, data,
                                                             books, records,           including   data in
                                                                                 data, including data     in
       electronic form,
       eiectronic form, and
                         and ail
                               all other
                                   other documents
                                          documents of    the Debtors
                                                       of the Debtors inin connection   with the
                                                                           connection with   the Monitor’s
                                                                                                  Monitor's
       duties and
       duties and responsibïh
                   responsibilities   hereunder.
                                ities hereunder.

 47]
[47]   DECLARES
       DECLARE       that the
                  S that  the Monitor
                               Monitor may     provide creditors
                                         may provide                 and other
                                                          creditors and  other relevant     stakeholders
                                                                                  relevant stakehoide  rs ofof
       the  Debtors with information   in response
       the Debtors with information in response        to
                                                      to  requests
                                                          requests   made
                                                                    made    by
                                                                            by  them
                                                                                them  in
                                                                                      in  writing
                                                                                          wrïting addressed
                                                                                                  addressed
       to the
       to the Monitor
              Monitor and
                       and copied
                            copied to       counsel for
                                        the counsei
                                    to the             for the  Debtors. In
                                                           the Debtors.       the case
                                                                          In the   case of  information that
                                                                                         of information  that
       the Monitor
       the  Monitor has
                    has been
                         been advised
                                advised byby the   Debtors is
                                             the Debtors        confidential,
                                                             is confidentia    proprietary
                                                                            i, proprietary   or
                                                                                             or  competitive,
                                                                                                competitive  ,
       the Monitor
       the  Monitor shah
                    shall flot
                          not provide    such information
                               provide such    information to    any Person
                                                              to any            without the
                                                                      Person without                  of the
                                                                                              consent of
                                                                                         the consent      the
       Debtors  unless otherwise
       Debtors unless              directed by
                        otherwise directed    by this
                                                  this Court.
                                                       Court.

:48]
48]    DECLARES
       DECLARES that that ifif the
                               the Monitor, in its
                                   Monitor, in its capacity asas Monitor,  carries on
                                                                 Monitor, carnes   on the              of the
                                                                                             business of
                                                                                        the business      the
       Debtors   or continues the
       Debtors or continues            employment
                                   the employment of theof the  Debtors'
                                                                Debtors’  employees,
                                                                          employees   ,   the
                                                                                          the  Monitor
                                                                                               Monitor  shall
                                                                                                        shaH
       benefit from
       benefit from the                  section 11.8
                    the provisions of section               the CCAA.
                                                   1 1.8 of the CCAA.

 49]
[49]   DECLARES
       DECLARES that  that no
                            no action                proceedings
                                             other proceeding
                                 action or other                     shall be
                                                                  s shah         commenced
                                                                            be commence          against the
                                                                                              d against       the
       Monitor relating   to its
                relating to       appointment,
                              its appointmen   t, its  conduct as
                                                  its conduct    as Monitor or or the    carrying out of the
                                                                                   the carrying               the
       provisions  of
       provisions of   any  order  of this
                                      this  Court,
                                            Court,  except   with
                                                             with  prior leave
                                                                         leave   of  this
                                                                                    this  Court,
                                                                                          Court,   on
                                                                                                   on  at  least
                                                                                                           Ieast
       seven days’
       seven  days' notice   to the Monitor and
                     notice to                and its  counsel. The
                                                   its counsel.        entities related
                                                                  The entities  reiated to      affiliated with
                                                                                          to or affiliated   with
       the Monitor
       the          shall also
           Monitor shah   ais° be   entitied to
                                 be entitied         protection, benefits
                                                the protection,
                                             to the                         and
                                                                  benefits and   privileges
                                                                                  privileges  afforded
                                                                                              afforded    to
                                                                                                          to  the
                                                                                                             the
       Monitor pursuant to to this paragraph.
                                   paragraph.

50]
50J    ORDERS
       ORDERS that that the
                        the Debtors               the reasonable
                                       shall pay the
                             Debtors shah             reasonabie fees  and disbursem
                                                                  fees and             ents of the
                                                                             disbursements      the
       Monitor,  the Monitor's
       Monitor, the   Monitor’s legal   counsel, the
                                  legai counsel,   the legal counsel for the Debtors and
                                                       legal counsei                     and other
       advisers,                             proceedings, the Plan and the Restructuring,
                          related to these proceedings,
       advisers, directly related                                           Restructuring, whether
       incurred before or alter                 and shall
                                        Order, and
                             after this Order,       shah be  authorized
                                                           be authorized  to  provide each with
                                                                              provide each  with a
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       reasonable retainer
       reasonabie retainer inin advance
                                advance on
                                        on account
                                           account of
                                                   of such
                                                      such fees
                                                            fees and disbursements, ifif so
                                                                 and disbursements,      so
       requested.
       requested.

[51]
[51]    DECLARES that
       DECLARES         that the
                              the Monitor
                                    Monitor as  as well
                                                    well as
                                                          as the
                                                               the Monitor’s
                                                                     Monitor's legal
                                                                                legal counsel   (Norton Rose
                                                                                       counsel (Norton    Rose
        Fulbright Canada
       Fuibright   Canada LLP)LLP) and
                                    and the
                                          the legal
                                               legal counsel
                                                     counsel forfor the
                                                                     the Debtors
                                                                         Debtors (McCarthy   Tétrault LLP),
                                                                                  (McCarthy Tétrauit   LLP), as
                                                                                                              as
        security for
       security  for the
                      the professional
                           professional fees
                                           fees and
                                                  and disbursements
                                                       disbursements incurred
                                                                          incurred both
                                                                                    both before
                                                                                         before and
                                                                                                 and after the
                                                                                                      after  the
        making of
       making     of this
                      this Order
                             Order and
                                     and directiy
                                           directly reiated
                                                      related to     these proceedings,
                                                                 to these   proceedings, the    Plan and
                                                                                           the Plan    and the
                                                                                                             the
        Restructuring, be
       Restructuring,     be entitled
                              entitled to
                                        to the
                                            the benefit
                                                 benefit of
                                                          of and
                                                              and are
                                                                    are hereby              charge, hypothec
                                                                                 granted aa charge,
                                                                         hereby granted               hypothec
        and security
       and   security inin the
                            the Property
                                Property to  to the
                                                 the extent
                                                      extent ofof the
                                                                   the aggregate
                                                                        aggregate amount
                                                                                    amount ofof $250,000
                                                                                                $250,000 (the
                                                                                                            (the
       "Administration Charge”),
       “Administration       Charge"), having
                                          having the
                                                   the priority
                                                        priority established
                                                                  established by   paragraphs [53]
                                                                              by paragraphs    [53] and
                                                                                                    and [54]
                                                                                                         [54] of
                                                                                                              of
       this Order.
       this Order.

  ift Cards
ift   Cards and
            and Loyalty
                Loyalty Programs
                        Programs

 52]
[52]   AUTHORIZES, notwithstanding
       AUTHORIZES,        notwithstanding anything
                                           anything to
                                                     to the
                                                        the contrary
                                                            contrary in  this Order,
                                                                      in this        the Debtors
                                                                              Order, the  Debtors toto
       continue  to honour
       continue to    honour oror comply
                                  comply with
                                         with any
                                               any customer
                                                    customer deposits,     pre-payments, gift
                                                               deposits, pre-payments,          cards,
                                                                                           gift cards,
       store credits,
       store credits, ioyafty
                       Ioyalty program
                               program and
                                       and any
                                            any similar
                                                similar programs  offered by
                                                        programs offered   by the Debtors.
                                                                              the Debtors.

 riorities and
Priorities and General
               General Provisions
                       Provisions Relating
                                  Relating to
                                           to CCAA
                                              CCAA Charges
                                                   Charges

53]
53J    DECLARES that
       DECLARES      that each
                          each ofof the
                                      the CCAA
                                           CCAA Charges
                                                   Charges shaH
                                                              shall rank
                                                                     rank in   priority to
                                                                           in priority      any and
                                                                                        to any   and ailall other
                                                                                                             other
       hypothecs, mortgages,
       hypothecs,   mortgages, liens,
                                   liens, security
                                            security interests,
                                                      interests, priorities,
                                                                  priorities, charges,      encumbrances or
                                                                               charges, encumbrances             or
       security of  whatever   nature or
       security of whatever nature        or kind   (collectively,  the  "Encumbrances")
                                              kind (collectively, the “Encumbrances”)             affecting
                                                                                                 affecting     the
                                                                                                               the
       Property whether
       Property whether oror not
                             not charged
                                   charged by by such
                                                  such Encumbrances,
                                                        Encumbrances, exceptexcept that        Interim Lender
                                                                                           the Interim
                                                                                     that the            Lender
       Charge shah
       Charge    shall tank
                        rank after
                               after the      Encumbrances securing
                                        the Encumbrances          securing anyany obligation,        liability or
                                                                                      obligation, hiability      or
       indebtedness pursuant
       indebtedness    pursuant to     the credit
                                  to the    credit agreement
                                                   agreement dated       February 28,
                                                                 dated February       28, 2020    entered into
                                                                                           2020 entered       into
       amongst GDI,
       amongst   GDI, asas borrower,
                            borrower, National
                                           National Bank
                                                     Bank of     Canada, as
                                                             of Canada,      as administrative      agent (the
                                                                                 administrative agent         (the
       "Agent"),  and  National  Bank    of
       “Agent”), and National Bank of Canada,Canada,    Bank
                                                        Bank  of
                                                              of Montreal,
                                                                 Montreal,    The
                                                                              The   Toronto  -Dominion
                                                                                   Toronto-Dominion          Bank
                                                                                                            Bank
       and Fédération
       and                des Caisses
             Fédération des                   Desjardins du
                                 Caisses Desjardins              Québec, as
                                                            du Québec,        as lenders               "Secured
                                                                                              (the “Secured
                                                                                   lenders (the
       Lenders"), as
       Lenders”),   as amended         pursuant to
                         amended pursuant          to aa First                  Agreement
                                                                 Amending Agreement
                                                          First Amending                        to
                                                                                               to   the
                                                                                                    the    Credit
                                                                                                           Credit
       Agreement dated
       Agreement   dated as
                          as of
                              of April
                                 April 30,
                                         30, 2020
                                              2020 and
                                                    and aa Second                  Agreement to
                                                                      Amending Agreement
                                                           Second Amending                            the Credit
                                                                                                  to the   Credit
       Agreement dated
       Agreement   dated as
                          as of
                             of July
                                 July 3,3, 2020
                                           2020 (the
                                                 (the “Secured     Lenders' Existing
                                                       "Secured Lenders’                   Security").
                                                                               Existing Security”).

 54]
[54]   DECLARES
       DECLARES that  that the
                           the priorities
                               priorities of
                                           of the
                                              the Administration   Charge and
                                                   Administration Charge         the Directors'
                                                                            and the               Charge
                                                                                      Directors’ Charge
       (collectively, the "CCAA    Charges"),     as well
       (cohlectively, the “CCAA Charges”), as wehl as the as  the Secured
                                                                  Secured  Lenders'
                                                                           Lenders’   Existing
                                                                                      Existing  Security,
                                                                                                Security,
       as between
       as between them
                     them with
                           with respect
                                respect to   any Property
                                          to any               which they
                                                           to which
                                                  Property to             apply, shah
                                                                     they apply,       be as
                                                                                 shall be     follows:
                                                                                          as follows:

       (a)
       fa)   first, the
             first, the Administration
                        Administration Charge; and
                                       Charge; and

       (b)
       (b)   second, the
             second, the Directors' Charge;
                         Directors’ Charge;

       (c)
       (c)   third, the
             third, the Secured
                        Secured Lenders'
                                Lenders’ Existing Security; and
                                         Existing Security; and

       (d)
       (d)   fourth, the
             fourth, the Interim
                         Interim Lender Charge.
                                        Charge.

55]
55]    ORDERS that,
                  that, except as                                    herein, the Debtors shah
                                                        provided for herein,
                               as otherwise expressly provided                               shall not
       grant any Encumbrances
                 Encumbrances in  in or against any Property that rank  in priority
                                                                  tank in  prïority to, or pari
                                                                                    to, or      passu
                                                                                           pari passu
       with, any of the
       with,         the CCAA Charges unless            Debtors, as applicable,
                                            unless the Debtors,                      obtain the prior
                                                                      applicable, obtain
       written consent of the Monitor and
       written                                 Debtors, and
                                       and the Debtors,               approval of the Court.
                                                        and the prior approval           Court.
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[56]
[56]   DECLARES that each of  cf the CCAA Charges shall
                                                     shah attach,           Effective Time, to all
                                                          attach, as of the Effective          ail
       present and future Property of the Debtors, notwithstanding any requirement for the
       consent of any party to any such charge or to comply with
                                                             with any condition precedent.
                                                                      condition precedent.

[57]
[57]    DECLARES that the CCAA
       DECLARES               CCM Charges and the rights and remedies of the beneficiaries of
       the CCAA Charges, as applicable, shall
                                            shah be vahid
                                                      valid and enforceable and not
                                                                                  flot otherwise be
       limited or impaired in in any way by:    fi) these proceedings and the declarations of
                                           by: (i)
       insolvency made herein; (ii) any application(s) for bankruptcy order(s) issued pursuant to
        BIA, or any bankruptcy order made pursuant to such application(s)
       BIA,                                                    apphication(s) or any assignment(s)
       in bankruptcy made or deemed to be made in respect of any of the Debtor; or (iii) any
       negative covenants,
                  covenants, prohibitions or other similar provisions with              borrowings,
                                                                       with respect to borrowings,
       incurring debt or the creation of Encumbrances, contained in in any agreement,    hease, sub-
                                                                            agreement, lease,   sub
       lease, offer to lease or other arrangement whichwhich binds the Debtors (a "Third
                                                                                       “Third Party
                                                                                               Party
       Agreement”), and notwithstanding any provision to the contrary in any Third Party
       Agreement"),
       Agreement:

       (a)
       fa)   the creation of any of the CCAA Charges shall     flot create nor be deemed to
                                                         shah not
                                                                                 which any of
             constitute a breach by the Debtors of any Third Party Agreement to which
             the Debtor is a party; and

       (b)   the beneficiaries of the CCAA Charges shall                 iiability to any Debtors
                                                      shaH not have any liability
                               resuit of any breach of any Third Party Agreement caused by or
             whatsoever as a result
             resulting from the creation of the CCAA Charges.

 58]
[58]   DECLARES that notwithstanding: (i) these proceedings and the declarations of
       insolvency made herein; (ii)         apphïcation(s) for bankruptcy order(s) issued pursuant to
                                   (ii) any application(s)
                                                                  apphication(s) or any assignment(s)
       BIA, or any bankruptcy order made pursuant to such application(s)
       in bankruptcy made or deemed to be made in respect of any of the Debtor; and         and (iii) the
       provisions                                  statute, the payments
       provïsions of any federal or provincial statute,                     or disposition  of Property
       made by any of the Debtor pursuant to this Order and the granting                 of  the CCAA
       Charges,
       Charges, do not
                     flot and wihi                                             preferences, fraudulent
                                                     settlements, fraudulent preferences,
                              will not constitute settlements,
       conveyances or other challengeable or reviewable transactions or conduct meriting an
       oppression remedy under any applicable law.   law.

[59]
 59]   DECLARES that the CCAA   0CM Charges shall           vahid and enforceable as against all
                                                   shah be valid                                   ail
       Property
       Property of the Debtors and against all    Persons, including,
                                              ail Persans, including, without limitation,
                                                                              limitation, any trustee
          ban kruptcy, receiver,
       in bankruptcy,
       in                        receïver and manager or interim receiver of the Debtors.
                       receiver, receiver

Hearing scheduling
Hearing scheduhing and details

[60]
[60]   ORDERS that, that, subject to further Order of this Court, allail applications in these CCAA
       proceedings are to be brought on not      hess than five (5) days’
                                            flot less                               ail Persons on the
                                                                    days' notice to all
       service list.                    shah specify a date
                iist. Each application shall                   (the "Initial
                                                                    “initial Hearing
                                                                             Hearîng   Date”) and time
                                                                                       Date")
            “initial Hearing Time")
       (the "Initial          lime”) for the hearing.

61]
61]    ORDERS that any Person wishing to object to the relief sought on an       an application in
                                                    Person has received two (2) business days'
                     proceedings, provided such Person
       these CCAA proceedings,                                                               days’
       prior notice of such application being presented, must serve a detailed written     wriffen
       contestation stating the objection to the application and the grounds for such objection
                                                                                      objection (a
       “Contestation”) in writing to the moving party,
       "Contestation")                                                       Monitor, with a copy
                                                  party, the Debtors and the Monitor,
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        to ail
       to   all Persons
                Persons onon the
                              the service
                                   service list,
                                             list, no
                                                   no later
                                                       later than
                                                              than 55 p.m.
                                                                      p.m. Montréal
                                                                           Montréal Time
                                                                                    Time on
                                                                                         on the
                                                                                              the date
                                                                                                  date that
                                                                                                        that isis
        three (3)
       three    (3) days
                    days prior
                         prior to
                                tothe
                                   the Initiai
                                       Initial Hearing
                                                Hearing Date
                                                           Date (the
                                                                 (the ‘Objection
                                                                       "Objection DeadNne”)
                                                                                  Deadline").
                                                                                            .

 62]
[62J   ORDERS that,
       ORDERS       that, ifif no
                               no Contestatio
                                   Contestationn isis served
                                                      served by by the
                                                                    the Objection
                                                                        Objection Deadiine,
                                                                                      Deadline, the
                                                                                                 the Judge
                                                                                                     Judge having
                                                                                                             having
       carriage   of    the    application (the
       carnage of the application           (the “Presïdïng
                                                    "Presiding Judge”)
                                                                    Judge") may        determine: ta)
                                                                                may determine:      (a) whether
                                                                                                        whether aa
       hearing isis necessary;
       hearing       necessary; (b)  (b) whether
                                          whether suchsuch hearing
                                                             hearing will
                                                                        will be
                                                                             be inin person,  by tetephone
                                                                                     person, by   telephone oror by
                                                                                                                  by
       written submission
       wriffen   submissions        only; and
                                 s only;  and (c)
                                                (c) thethe parties
                                                             parties from
                                                                      from whom        submissions
                                                                              whom submission         are required
                                                                                                   s are   required
       (collectively,
       (collectivei     the “Hearing
                    y, the    "Hearing Detaïls”).
                                         Details"). In In the
                                                           the absence
                                                               absence of of any
                                                                              any such   determination,
                                                                                    such determinat         hearing
                                                                                                    ion, aa hearing
       will be
       will be held
                held inin the
                           the ordinary
                                ordinary course.
                                         course.

63]
63J     ORDERS that,
       ORDERS       that, ifif no
                               no Contestatio
                                    Contestation  n isis served
                                                         served by
                                                                 by the
                                                                     the Objection    Deadline, the
                                                                         Objection Deadiine,     the Debtors
                                                                                                     Debtors shah
                                                                                                               shall
        communicate      with     the
       communicate with the Presiding  Presiding Judge         regarding whether
                                                       Judge regarding                   determination
                                                                           whether aa determinat    ion has been
                                                                                                         has  been
        made by
       made      by the
                     the Presiding
                          Presiding Judge Judge concerning
                                                     concerning the                  Details. The
                                                                         Hearing Details.
                                                                   the Hearing                The Debtors
                                                                                                     Debtors shah
                                                                                                               shall
        thereafter advise
       thereafter   advise the the service
                                     service hist
                                             list of
                                                   of the
                                                       the Hearing    Details and
                                                            Hearing Details   and the   Debtors shaH
                                                                                    the Debtors        report upon
                                                                                                 shall report upon
        its disseminat
       its  dissemination
                       ion of  of the
                                   the Hearing
                                       Hearing Details
                                                  Details toto the
                                                               the Court
                                                                   Court in             manner.
                                                                                 timely manner.
                                                                          in aa timely

 64]
[641    ORDERS that,
       ORDERS       that, ifif aa Contestatio
                                  Contestationn isis served
                                                     served by
                                                             by the                 Deadline, the
                                                                       Objection Deadline,
                                                                 the Objection                  the interested
                                                                                                     interested
       parties  shall appear      before  the Presiding
       parties shah appear before the Presiding Judge on  Judge  on  the
                                                                    the   Initial
                                                                          Initial Hearing
                                                                                  Hearing   Date
                                                                                           Date   at
                                                                                                  at   the Initial
                                                                                                      the   Initial
       Hearing   Time,
       Hearing Time, or  or such
                               such earhier
                                     earlier or
                                             or later
                                                later time  as may
                                                       time as may be    directed    by
                                                                     be directed by the the Court,
                                                                                            Court,    to,
                                                                                                     to,   as
                                                                                                          as   the
                                                                                                              the
       Court may
       Court   may direct:
                     direct: (a)(a) proceed
                                    proceed with
                                              with the
                                                    the hearing
                                                         hearing on
                                                                  on the           Hearing Date
                                                                           Initial Hearing
                                                                      the Initial            Date and
                                                                                                    and at at the
                                                                                                               the
       Initial Hearing
       Initial Hearing Time;
                         Time; or  or (b)  establish aa schedule
                                      (b) establish      schedule for
                                                                   for the    delivery of
                                                                        the delivery       materials and
                                                                                        of materials     and the
                                                                                                               the
       hearing cf
       hearing   of the
                    the contested
                         contested application
                                       application and
                                                     and such          matters, inchuding
                                                               other matters,
                                                          such other              including interim     relief, as
                                                                                             interim relief,    as
       the Court
       the  Court may
                  may direct.
                        direct.

 ome-back hearing
come-back hearing

 65]
:65]   ORDERS that,
       ORDERS     that, notwithstan
                        notwithstanding   paragraph [62],
                                    ding paragraph           full hearing
                                                    [62], aa full           on the
                                                                   hearing on       orders sought
                                                                               the orders  sought in  the
                                                                                                   in the
       Application shah
       Application  shall take
                           take place
                                 place on    September 17,
                                         on September     17, 2020
                                                                2020 at    9:15 am
                                                                       at 9:15        by
                                                                                  am by   means
                                                                                          means   to
                                                                                                  to   be
                                                                                                       be
       determined by
       determined   by the
                       the Court
                            Court and
                                  and to
                                       to be communicated
                                          be communic  ated toto the
                                                                  the service
                                                                      service hist.
                                                                              list.

 eneral
General

 66]
[66]   ORDERS that
       ORDERS       that no
                          no Person
                              Person shah                   proceed with
                                              commence,, proceed
                                       shall commence                 with or  enforce any
                                                                           or enfonce     any Proceedings
                                                                                               Proceedings
       against   any   of  the                             legal  counsel
                                             employees,, legal counsel
                                Directors, employees
       against any of the Directors,                                       or
                                                                           or   financial
                                                                               financial   advisors
                                                                                           advisors   of the
                                                                                                     of  the
       Debtors
       Debtors oror of
                     of the
                        the Monitor
                             Monitor in
                                      in relation
                                         relation to
                                                  to the
                                                     the Business   or Property
                                                          Business or  Property of    the
                                                                                   of the  Debtors,
                                                                                           Debtors,  without
                                                                                                    without
       first obtaining
       first obtaining heave
                         leave of
                                of this
                                    this Court,   upon ten
                                          Court, upon        (10) days’
                                                         ten (10)         written notice
                                                                   days' written               the Debtors
                                                                                            to the
                                                                                    notice to       Debtors
       counsel, the
       counsel,   the Monitor’s
                      Monitor's counseh,     and to
                                  counsel, and    to ahi
                                                     all those
                                                         those referred  to in
                                                               referred to     this paragraph
                                                                            in this              whom itit is
                                                                                     paragraph whom        is
       proposed    be named    in such  Proceedings.
       proposed be named in such Proceeding          s.

67]
67]    DECLARES
       DECLARES that that this
                           this Order
                                Order andand any
                                              any pnoceeding                 leading to
                                                   proceeding or affidavit leading   to this         shall
                                                                                             Order, shah
                                                                                        this Orden,
       not,
       not, in and of
            in and  of themselves
                       themselves,, constitute       default or
                                       constitute aa default    failure to
                                                             or faihure    comply  by
                                                                        to comphy by  the
                                                                                      the Debtors
                                                                                          Debtons   under
                                                                                                    under
       any statute,
       any   statute, regulation,
                       regulation, licence,    permit, contract,
                                     licence, permit,               permission,, covenant,
                                                         contract, permission                agreement,,
                                                                                  covenant, agreement
       undertaking             written document or
       undertaking or other wnitten                 or requirement.
                                                       requirement.

68]
:68]   DECLARES
       DECLARES that, that, except as            specified herein,
                                    as otherwise specified           the Debtors and
                                                             herein, the               the Monitor are
                                                                                   and the           are
       at
       at liberty
          hiberty to serve any notice,            claim  form,   proxy,
                                 notice, proof of daim form, proxy,     circular or other document    in
                                                                                                       in
       connection    with these proceedings
       connection with                               forwarding
                                   proceedings by forwarding       copies  by  prepaid
                                                                               prepaid  ordinary   mail,
                                                                                                   mail,
       courier, persona!
       courier,                                     transmission
                  personal delivery or electronic transmissio     n to  Pensons or other appropriate
                                                                    to Persans
       parties at their respective given                   hast shown on the records of
                                     given addresses as last                            cf the Debtors
       and   that
       and that   any  such
                       such  service  shall
                                      shah  be deemed
                                               deemed   to
                                                        to  be
                                                            be  received  on
                                                                          on the
                                                                             the  date
                                                                                  date of delivery
                                                                                          dehivery if by
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       personal
       personal delivery or electronic transmission,
                                       transmission, on      following business
                                                         the foliowing
                                                     on the            business day if delivered by
                                                                                    if Uelivered
       courier, or three
       courier,    three business            mailing if by ordinary mail.
                                  days after mailing
                         business days                              mail.

 69]
[69]   DECLARES
       DECLARES that  that the
                           the Debtors
                                Debtors and   any party to
                                        and any                   proceedings may serve
                                                           these proceedings
                                                        to these                       serve any  court
                                                                                             any court
       materials in  these proceedings
                  in these                on ail
                             proceedings on   all represented
                                                  represented parties
                                                               parties electronicaliy,     emailing an
                                                                       electronically, by emailing  an
       electronic copy of such
                            such materials to counsels’
                                 materials to  counsels' email
                                                         email addresses.
                                                               addresses.

  0]
[70]   DECLARES
       DECLARES that,  that, unless
                             uniess otherwise
                                    otherwise provided   herein, under
                                               provided herein,          the CCAA,
                                                                 undet the               ordered by this
                                                                              CCAA, or ordered       this
       Court,
       Court, no    document, order or other material
               no document,                    materiai need  be served
                                                        need be   served on    any Person in
                                                                            on any  Person  in respect of
       these proceedings,
               proceedings, unless
                               unless such
                                      such Person
                                            Person has               Notice of Appearance on
                                                         served a Notice
                                                    has served                                on counsel
                                                                                                 counsel
           the Debtors and
       for the            and counsel      the Monitor and
                               counsel for the          and has   filed such
                                                             has filed  such notice        this Court,
                                                                                      with this
                                                                               notice with      Court, or
       appears on     the service list prepared by counsel
                 on the                                               Monitor, save and except when
                                                    counsel for the Monitor,                       when
       an order is
       an         is sought against a Person
                                        Person not previously involved
                                                               involved in   these proceedings.
                                                                          in these  proceedings.

 1]
71]    DECLARES that that the
                           the Debtors    the Monitor may,
                               Debtors or the                            time, apply
                                                                 time to time,
                                                           from time
                                                      may, from                      to this Court
                                                                               appiy to
       for directions
           directions concerning                                                duties and
                                    the exercise of their respective powers, duties
                        concerning the                                                  and rights
       hereunder
       hereundet or in in respect of the
                                      the proper execution of this Order on
                                                 execution of                 notice
                                                                           on notice only to each
                                                                                             each
       other.
       other.

 72]
[72]   DECLARES that this Order and and all
                                         ail other orders in these proceedings
                                                          in these             shaH have full
                                                                   proceedings shall     full force
       and
       and effect in
                  in all
                     ail provinces and
                                   and territories
                                       territories in
                                                   in Canada.
                                                      Canada.

 73]
[73]   AUTHORIZES Groupe Dynamite Inc.            appiy as it may consider necessary or desirable,
                                          Inc. to apply
       with or without notice,
       with            notice, to                                     body, whether in
                               to any other court or administrative body,              in Canada,
                                                                                           Canada, the
       United States of America,                              which aid
                                     eisewhere, for orders which
                         America, or elsewhere,                      aid and
                                                                          and  complement    this Order
       and
       and any subsequent orders of this Court and,  and, without limitation            foregoing, any
                                                                    limitation to the foregoing,
       orders under Chapter 15 of the U.S.                Code, including
                                        U.S. Bankruptcy Code,     including an an order for recognition
       of these CCAA proceedings
                          proceedings as "Foreign     Main Proceedings"
                                           “Foreign Main                             United States of
                                                            Proceedings” in the United
       America pursuant to Chapter 15 of the U.S.  U.S. Bankruptcy Code,                 which Groupe
                                                                       Code, and for which
       Dynamite Inc.     shall be the foreign
                   Inc. shah            foreign   representative   of  the
                                                                       the    Debtors   (the  "Foreign
                                                                                              “Foreign
       Representative").
       Representative”). AllAU courts and administrative bodies        of  all
                                                                           ail  such jurisdictions  are
                             requested to make such orders and to provide such
       hereby respectiveiy requested                                               such assistance to
       the Debtors and the Foreign Representative as may be deemed necessary or
       appropriate for that purpose.
                            purpose.

74]
74]    REQUESTS the aid  aid and                       Court, tribunal,
                             and recognition of any Court,              reguiatory or administrative
                                                              tribunal, regulatory
       body in Canada, the United States of America or elsewhere, to give effect to this Order
       and                Debtors, the Monitor and their respective agents in
       and to assist the Debtors,                                                in carrying out the
       terms of this Order. All Courts, tribunals, regulatory and administrative bodies are hereby
                            Ail Courts,
       respectfully requested to make such  such orders and to provide such assistance to the
                 and the Monitor as may be necessary or desirable to give effect to this Order,
       Debtors, and
                                                                  authorïzed representative of the
       to grant representative status to the Monitor or the authorized
                                                           Debtors, and the Monitor, and to act in
                in any foreign proceeding, to assist the Debtors,
       Debtors in
       aid
       aid of and
              and to be complementary                     carrying out the terms of this Order.
                                                Court, in carrying
                        compiementary to this Court,                                     Order.

75]
75]    DECLARES     that, for the purposes of any applications authorized by paragraphs [73] and
       DECLARES that,
       [74], Debtors'
             Debtors’ centre of main interest is located                    Québec, Canada.
                                                 Iocated in the province of Québec,

76]
[76]   ORDERS that Exhibit P-2P-2 and Appendices B,                       P-6 in support of the
                                                    B, C and D to Exhibit P-6
       Application are confidential         fiied under seal,
                       confidentiai and are filed                 PRAYS ACT of the Debtors'
                                                        seal, and PRAYS               Debtors’
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        undertaking to
       undertaking   to communicate
                         communicate any any of
                                             of those  exhibits to
                                                 those exhibits               creditors following
                                                                     certain creditors
                                                                 to certain              following an
                                                                                                    an
        undertaking of confidentiality
       undertaking of confidentiality. .

[77]
77]    ORDERS the
       ORDERS  the provisional
                    provisional execution
                                 execution of   this Order
                                            of this  Ordernotwithstanding
                                                           notwithstanding any   appeat.
                                                                            any appeal.




                                              the Honourable
                                              The Honourable Peter Kalichman, J.S.C.
                                                             Peter Kalichman, J.S.C.
